          Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 1 of 64



                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

JOHN DOE,                                       )       Civil Action
                                                )
                        Plaintiff,              )       Case No. 3:17-cv-00364-JBA
                                                )
v.                                              )
                                                )
QUINNIPIAC UNIVERSITY, TERRI                    )       ORAL ARGUMENT REQUESTED
JOHNSON, SEANN KALAGHER,                        )
AND VINCENT CONTRUCCI,                          )
                                                )
                        Defendants.             )       January 22, 2019

PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

        Pursuant to Local Civil Rules 7(a) and 56(a)2, Plaintiff John Doe (“Plaintiff” or “Doe”)

submits this memorandum in opposition to the Motion for Summary Judgment filed by

Defendants, Quinnipiac University (“QU”), Terri Johnson (“TJ”) Seann Kalagher (“SK”), and Vincent

Contrucci (“VC”). 1 (Dckt. 81). For the reasons set forth below, the Motion for Summary Judgment

should be denied in its entirety.

                                      I.     INTRODUCTION

        The Defendants have moved for summary judgment on various grounds, claiming a lack

of evidence to support any of Doe’s claims for relief. As discussed below, however, the evidence

of record fully supports Doe’s claims of discriminatory treatment under Title IX (“T9”). Doe relies

on, among other things, a statement and actions of a key decision-maker showing that gender bias

influenced her decision. He also relies on specific examples of more favorable treatment of

similarly-situated female students in QU disciplinary proceedings involving the same QU

administrative personnel and decision-makers, even after QU was advised in detail numerous times


1
 Defendants will be referred to by their initials, Quinnipiac University (“QU”), Terri Johnson, (“TJ”)
Seann Kalagher, (“SK”), and Vincent Contrucci, (“VC”) as well as the other individuals in this case. See
Ex 128 (Legend).
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 2 of 64



of Doe’s concerns about its gender bias, flawed processes and the extreme emotional toll its

unreasonable actions were taking on him. The record leaves no doubt that questions of material

fact exist as to all of Doe’s claims, which should be decided by the jury.

                    II. STANDARD FOR ENTRY OF SUMMARY JUDGMENT

       A motion for summary judgment may be granted only if the court determines that there is

no genuine issue of material fact to be tried, and that the facts as to which there is no such issue

warrant judgment for the moving party as a matter of law. See Fed.R.Civ.P. 56(c); Celotex Corp.

v. Catrett, 477 U.S. 317, 322-23 (1986); Gallo v. Prudential Residential Servs., Ltd. Partnership,

22 F.3d 1219, 1223 (2d Cir. 1994). “If, as to the issue on which summary judgment is sought,

there is any evidence in the record from which a reasonable inference could be drawn in favor of

the nonmoving party, summary judgment is improper.” Rodriguez v. City of New York, 72 F.3d

1051, 1061 (2d Cir. 1995).

       Many of the claims asserted in this case (including T9, breach of contract, bad faith,

intentional infliction of emotional distress, and recklessness) implicate the Defendants’ motives

and intent. Issues of motive and intent – requiring as they do assessments of credibility and

demeanor – are generally ill-suited for summary judgment and should be left to a jury for

resolution. See, e.g., Poller v. Columbia Broad. Sys., 368 U.S. 464, 473 (1962) ("Summary

judgment procedures should be used sparingly ... where the issues of motive and intent play leading

roles.”); ITC Ltd. v. Punchgini, Inc., 482 F.3d 135, 150 (2d Cir. 2007) (“[I]ntent is always a

subjective matter of inference and thus rarely amenable to summary judgment.”).

                                        III. ARGUMENT

       Defendants move for summary judgment on all 12 counts of Plaintiff’s Second Amended

                                                 2
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 3 of 64



Complaint (Doc. 71). Viewing Plaintiff’s claims in light of the substantial factual record below;

considering the disputed issues of fact on the most fundamental aspects of the claims and

defenses in this case; and given the mandate to draw all reasonable inferences in the Plaintiff’s

favor, summary judgment should be denied on all counts.

        A. Defendants’ Spoliation of Evidence Precludes Entry of Summary Judgment

        As a threshold matter, Defendants’ motion for summary judgment should be denied in its

entirety based on spoliation of evidence: SK shredded all the notes taken during the hearing in

INV1 2 and KK destroyed her notes pertaining to INV2. Local Rule 56(a)2 Statement (“SOF”)

¶¶259, 260. The intentional destruction of material evidence has no rational justification and, as

intended, has impeded Plaintiff’s ability to prove his case. See Doe v. Norwalk Community

College, 248 F.R.D. 372, 375, 381 (D. Conn. 2007) (setting out spoliation elements holding

plaintiff is entitled to adverse inference jury instruction).

        The Hearing and INV2 are at the core of all Doe’s claims against the Defendants. SK 3

shredded the notes of the Board, explaining that “people aren’t around me when I did it,” Ex. 3

pp.199, 10-11, despite that he was an attorney, knew of the pending lawsuit and litigation hold,

and always maintained all records for the T9 proceedings as required by T9. SOF ¶259. KK was

a former state trooper with extensive trial experience who knew of the pending lawsuit and

litigation hold and that all records of T9 proceedings were sent to SK for preservation. 4 SOF ¶260.


2
  INV1 refers to the first investigation QU conducted in the summer of 2016 based on complaints by Roe
and Roe2 against Doe. INV2 refers to the second investigation QU conducted in spring 2017 based on
Doe’s formal complaint against Roe.
3
  SK was QU’s Fed. R. Civ. Pro. 30(b)(6) designee and testified as QU’s institutional representative. SOF
¶4.
4
  LC preserved her notes in INV2 and VC preserved his in INV1. See Exs. 106, 107.

                                                   3
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 4 of 64



Yet, KK “destroyed” her notes. Ex.7 p.183, 14. Notes from the Hearing and INV2 could have

included inculpatory evidence of Defendants’ intent and conduct regarding T9 and breach of any

duty or contract.    Accordingly, the intentional destruction of this relevant and potentially

inculpatory evidence supports an adverse inference against Defendants sufficient to create a

material issue of fact on all Defendants’ identified grounds for summary judgment. Doe’s claims

should survive on this basis alone. See, e.g., Kronisch v. U.S., 150 F.3d 112, 129 (2d Cir. 1998)

(precluding summary judgment on circumstantial evidence and possibility that jury would draw

adverse inference due to spoliation); Byrnie v. Town of Cromwell, Bd. Of Ed. 243 F.3d 93 (2d

Cir. 2001), superseded in part and on other grounds by Fed. R. Civ. P. 37(e) (same).

        B. The Three Title IX Counts Survive Summary Judgment

        Title IX of the Education Amendments of 1972, 20 U.S.C. §1681, et seq. (“T9”) provides

that “[n]o person in the United States shall, on the basis of sex, be excluded from participation in,

be denied the benefits of, or be subjected to discrimination under any education program or activity

receiving Federal financial assistance ...” Id. at § 1681(a). A student discriminated against on this

basis may enforce T9 through an implied private right of action “for monetary damages, as well

as injunctive relief.” Yusuf v. Vassar College, 35 F.3d 709, 714 (2d Cir. 1994); see also Cannon

v. University of Chicago, 441 U.S. 677, 688–89 (1979). “Because Title IX prohibits (under

covered circumstances) subjecting a person to discrimination on account of sex, it is understood

to ‘bar[ ] the imposition of university discipline where gender is a motivating factor in the decision

to discipline.’” Doe v. Columbia Univ., 831 F.3d 46, 53 (2d Cir. 2016) (citing Yusuf, 35 F.3d at

715).

        To show a violation of T9, a plaintiff must demonstrate “that the defendant discriminated

                                                  4
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 5 of 64



against him or her because of sex; that the discrimination was intentional; and that the

discrimination was a “substantial” or “motivating factor” for the defendant’s actions.’” Doe v.

Brown Univ., 166 F. Supp.3d 177, 185 (D. R.I. 2016).

       Doe asserts three claims for relief as a result of QU’s violation of T9: (1) Erroneous

Outcome (Count One); (2) Selective Enforcement (Count Two); and (3) Deliberate Indifference

(Count Three).

       1. Counts One and Two – Erroneous Outcome and Selective Enforcement

       Doe suffered an erroneous outcome when QU, motivated at least in part by the fact that

Doe was male, engaged in flawed proceedings that led to the wrong outcome of his disciplinary

charges. Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994) (plaintiff must allege (1) “a

procedurally or otherwise flawed proceeding”; (2) “that has led to an adverse and erroneous

outcome”; and (3) “particular circumstances suggesting that gender bias was a motivating factor

behind the erroneous finding.”). “The predominant question is whether the college’s actions were

motivated by gender bias or if the disciplinary procedures establish a pattern of decision-making

that applies a chauvinistic view of the sexes to cast some articulable doubt on the accuracy of the

outcome of the disciplinary proceeding.” Neal v. Colorado State University–Pueblo, 2017 WL

633045, *9-10 (D. Colo. 2017).

       A party may recover on a selective enforcement claim when “regardless of the student’s

guilt or innocence, the severity of the penalty and/or the decision to initiate the proceeding was

affected by the student's gender.” Yusuf, 35 F.3d at 715. To establish that the decision-making

was predicated on gender bias, the plaintiff must “demonstrate that a female was in circumstances



                                                5
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 6 of 64



sufficiently similar to his own and was treated more favorably by the university.” Mallory v. Ohio

University, 76 Fed. Appx. 634, 641 (6th Cir. 2003).

       Defendant QU argues on both erroneous outcome and selective enforcement theories that

there is no triable issue concerning gender discrimination. Defendant’s Memorandum in Support

of Motion for Summary Judgment Dckt. No. 81-1 (“Def. Brief”), at 4. Under either theory, “Title

IX . . . is understood to ‘bar[ ] the imposition of university discipline where gender is a motivating

factor in the decision to discipline.’” Doe v. Columbia Univ., 831 F.3d 46, 53 (2d. Cir. 2016)

(quoting Yusuf, 35 F.3d at 715). Evidence sufficient to show discriminatory intent, includes

“statements by members of the disciplinary tribunal, statements by pertinent university officials,

or patterns of decision-making that also tend to show the influence of gender.” Yusuf, 35 F.3d at

715.

       Not only does the record here as set forth below include statements and actions of a key

decision-maker (Carney) showing that gender bias motivated her decisions, it also includes

overwhelming evidence that the defendants treated Doe differently than Roe throughout the entire

process. Additionally, statistics derived from data provided by the Defendants show men were

treated less favorably than women for T9 violations at QU, and that QU treated females more

favorably due to pressure from OCR and from the State of Connecticut to err on the side of females

in T9 cases.

       QU’s claim that there is no statement by any investigator showing gender bias, Def. Brief

at 4, relies solely on Doe’s deposition testimony. The record shows, however, that LC initiated

and conducted INV2 with preconceived notions about gender roles and used a biased lens which

influenced the outcome of INV2. When asked how she would have approached the matter if the

                                                  6
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 7 of 64



genders of the parties were reversed and every other detail was identical, she stated that “nothing

is ever, you know, the same situation” and that she is “very well aware that simply switching their

genders . . . would change so many other factors . . . There would be other things happening

around them that would be different if he were the woman and she were the man, . . . I just can't

imagine everything … would have played out exactly the same if he were the woman and she were

the man.” Ex. 12, pp.164, 12-15, 18-20; 165, 9-11.

       LC’s statement that she may have treated the case differently and that the outcome might

have been different if the genders were reversed pertains specifically to one of proceedings in

which Doe claims QU discriminated against him and is strong evidence of QU’s bias against Doe

because he was male. See, e.g., Doe v. Marymount University, 297 F.Supp.3d 573, 585-86 (E.D.

Va. 2018) (adjudicator made statements that indicated gender bias in another investigation); Doe

v. University of Chicago, 2017 WL 4163960, at *5 (N.D. Ill. 2017) (evidence of gender bias

sufficient where administrator refused to provide a direct answer to a similar question), Gentry

v. Mountain Home School District, 2018 WL 2145011 at *8 (W.D. Ark. 2018) (vice principal

made statements showing bias and mocked plaintiff’s sexual orientation); Saravanan v. Drexel

University, 2017 WL 5659821, at *5 (E.D. Pa. 2017) (factual scenario replete with examples of

statements showing gender bias).

       Further, through her biased lens, LC credited Roe’s claims that she felt unsafe, yet

disbelieved Doe’s claims that he felt unsafe. SOF ¶210. When asked why she disbelieved Doe,

LC cited his having “chose[n] to come back to [Roe’s] apartment” as the reason. Ex. 12, p.161,

23. Yet, LC listened to voicemail recordings provided by Doe, in which Roe pleaded with him not

to leave her and reviewed evidence that showed that Roe intended to go back to Doe’s apartment

                                                7
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 8 of 64



after he allegedly choked her. Ex. 12, p.115, 7-10; Ex. 86, p. 22. Moreover, Roe repeatedly went

back to Doe’s apartment, refused to leave his car and his home, and followed him to his parents’

home in Stamford to escape her, after he told her not follow him. SOF ¶25; Ex. 130, ¶19. Despite

all this, LC stated she believed Roe when she said she was afraid. SOF ¶210. Had LC applied her

own logic reasonably and without gender bias, she would have equally disregarded or equally

regarded the fear expressed by both Doe and Roe. In fact, in finding Roe not responsible, LC went

so far as to find that Doe did not make any statements that he was in fear, despite evidence to the

contrary that she included in her own report. SOF¶213; Ex. 60, p.8. The inference of bias is

obvious. See, e.g., Collick v. William Paterson University, 2016 WL 6824374, *11 (D. N.J. 2016)

(“[A]n allegation that the process was one-sided, irregular and unsupported by evidence may give

rise to an inference of bias.”)

        In addition to LC’s favorable treatment of Roe, there is sufficient evidence that QU treated

Roe and Roe2 more favorably than Doe throughout the entire disciplinary process. For selective

enforcement to apply, the parties must be similarly situated. Contrary to QU’s argument, Def.

Brief at 7, the females are similarly situated to Doe in three ways (in which they are in the same

posture regarding charges of T9 violations, specifically IPV 5): (1) Roe and Roe2 6 as complainants

in INV1 are similarly situated to Doe as a complainant in INV1; (2) Roe as a complainant in INV1

is similarly situated to Doe as a complainant in INV2; and (3) Roe as a respondent in INV2 is

similarly situated to Doe as a respondent in INV1. Further, because QU not only was obligated to,




5 Plaintiff refers to Intimate Partner Violence as IPV.
6 Roe is the female student Doe dated from January 2015 through June 2016; Roe2 is the female student
Doe dated from May 2014 through January 2015. SOF ¶¶10, 12.

                                                  8
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 9 of 64



but also specifically promised its students it would treat complainants and respondents equitably

in the T9 disciplinary process, Roe and Roe2 as complainants were similarly situated to Doe as a

respondent in INV1. Doe v Brown, 327 F Supp.3d 397, 412 (D.R.I. 2018) (“A comparator must

be ‘similarly situated in material respects,’”) (citations omitted); Doe v. Univ. of Chicago, 2017

WL 4163960, at *4 (N.D. Ill. 2017) (gender discrimination established where male is treated

adversely in one Title IX disciplinary process because he is male, and a female student was treated

better because she was female.); Doe v. Amherst College, 238 F.Supp.3d 195, 223 (D. Mass. 2017)

(school took proactive steps to encourage female but not male to file formal complaint); Doe v.

Rollins College, 2019 WL 208283 at *5 (M.D. Fla. 2019) (male student was intoxicated when

female complainant engaged in sexual activity with him and experienced retaliation during the

investigation, but school did not encourage him to file a complaint or investigate his claims).

       As complainants in INV1, QU treated Roe and Roe2 more favorably than Doe in numerous

ways. For example, Roe provided information about possible T9 violations by Doe to public safety

and to a QU RA, who realized what Roe said may be a Title IX matter. Ex.3, p.211, 10-21. They

immediately reported this to SK, who in turn immediately instructed VC and AH to investigate

Roe’s claims, which they promptly did as required by T9 and QU’s policy. SOF ¶¶13, 25; Exs.14,

pp.3, 5; 65, p.4; 79, p.4. Likewise, when interviewed as a witness for Roe, Roe2 provided

information which the investigators perceived as possible T9 violations by Doe. SOF ¶16. VC and

AH followed QU’s T9 policy and reported Roe2’s allegations to SK. Id. SK then instructed VC

and AH to investigate Roe2’s allegations in INV1, which they did, after opening an administrative

complaint, as required by T9 and QU’s Title IX policy. Id. When, however, Doe reported stalking

and harassment by Roe and Roe2, he received completely different treatment by the investigators.

                                                 9
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 10 of 64



During the course of his interviews with VC and AH, Doe identified the conduct of Roe and Roe2

both to show that they were unafraid of him (to defend against the charge of IPV), and also because

they were taking actions against him that were causing him to have safety concerns. SOF ¶¶23,

25. This information clearly raised possible T9 and violations of the QU Student Handbook

(“Code”) by Roe2 and Roe. SOF ¶¶96, 179. VC and AH, however, did not report this conduct to

anyone, open a complaint, or investigate -- all in violation of T9, QU’s T9 Policy and QU’s

training. SOF ¶¶25, 232; Exs.14, pp.3, 5; 65, p.4; 79, p.4. In fact, they never conducted an interview

of Roe or Roe2 after Doe’s interview to question them about his defense and their violations of

QU policies, even in the later Hearing. SOF ¶¶25, 182.

       Despite multiple opportunities to comply with their policies and T9, the investigators did

not report or investigate Doe’s claims even when he repeated them in two additional interviews.

SOF ¶ 25. Moreover, QU did not investigate his claims or open an administrative complaint

against Roe like they did for Roe2 despite his request that they do so in his Response. SOF ¶¶37,

Ex. 22 p.20. QU again failed to investigate these complaints when Doe later asked the same of the

T9 Coordinator, TJ, who undeniably understood what Doe was requesting. SOF ¶¶40, 47. Yet she

abandoned her responsibilities and duties as T9 Coordinator when she refused to conduct an

independent investigation and make an independent determination of whether Doe’s allegations

were possible violations of T9, instead relying on VC, AH and SK because she trusted them “to

have done what she presumed they would have done.” SOF ¶47. TJ not only refused to investigate

Doe’s defense or open an administrative complaint against Roe (as QU had done for Roe2), she

instead forced Doe to file a formal complaint against Roe, despite his desire not to do so and

despite the fact that it was not typical for QU to receive formal complaints. SOF ¶¶48, 50, 198.

                                                 10
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 11 of 64



        Forcing Doe to file a formal complaint and to undergo a separate investigation under these

circumstances -- especially to have his defenses investigated -- defies logic. QU is required to

report and investigate any possible T-IX violations whether someone files a complaint or not, even

if the person prefers not to cooperate or participate. SOF ¶230. VC explained this to Roe2 when

she did not want to file a complaint against Doe, emailing her “the University is required by the

government to determine if any reports we received may be violations of the Title IX policy are

accurate. Though we will follow up on what was reported, you are not required to participate or

respond to questions if you do not wish to.” Ex. 18, see also Ex. 3, p. 220, 8-14 (it was not typical

for QU to get formal complaints). 7

        QU’s actions are even more difficult to understand in light of the very low threshold for

reporting and opening an initial investigation into information that may constitute possible

violations of T9. A later formal investigation is required “if what they said happened, could have

violated [Title IX.]” Ex., 3 p. 181, 16-25, and opening an initial investigation requires less. SOF

¶277. Any reasonable person (much less one trained in T9) who read or heard Doe’s allegations,

even without access to the evidence he provided, would see potential violations of T9, possible

IPV, stalking and sexual harassment, as well as violations of other QU policies by Roe and Roe2. 8

SOF ¶¶96, 179. When Doe ultimately filed a formal complaint to avoid waiving his defenses, TJ

found reasonable cause to open a formal investigation on the very same information upon which


7 Further, investigating Doe’s allegations would have been efficient as the case involved the same parties,
witnesses and facts and the investigators were already up to speed. It would have been supportive to both
Roe and Doe as complainants to avoid subjecting them to additional proceedings and interfering with
their education. Moreover, Doe said he did not want to file a formal complaint because he did not want to
escalate the situation anymore, face possible retaliation charges or more harassment by Roe. SOF ¶198.
8
  Indeed, the investigators in INV2 read the allegations as constituting IPV, stalking and sexual
harassment. SOF ¶96.

                                                    11
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 12 of 64



VC, AH and SK had refused to open an initial investigation. SOF ¶199. This is a higher standard

than that for an initial investigation showing that QU applied a higher standard to investigate Doe’s

similar if not more egregious complaints against females than vice versa.

       QU’s defense that VC and AH did nothing because they could not corroborate the

allegations also makes no sense as that is not the standard for reporting or for opening an initial

investigation; rather, corroborating the evidence is the purpose and end result of an investigation.

In any event, Doe’s allegations were corroborated by the evidence he provided, as well as by Roe

and Roe2’s statements. SOF ¶25.

       QU’s actions here alone are sufficient to create an inference of gender discrimination in

favor of females. Rossley v. Drake Univ., 2018 WL 5307625, *22 (S.D. Iowa 2018) (summary

judgment denied given factual questions as to whether “Defendants’ decision to initiate

disciplinary proceedings against Plaintiff but not Jane Doe—even though they were both accused

of sexual misconduct—was motivated by gender”); Doe v. Amherst College, 238 F.Supp.3d 195,

223 (D. Mass. 2017) (gender bias shown where college took proactive steps to encourage female

but not male to file complaint); Doe v. Syracuse University, 2018 WL 4440530, at *10 (N.D.N.Y.

2018) (where university elevated allegations of claimant’s complaint, but did not afford respondent

the same consideration, court held actions supported selective enforcement claim).

       Further, QU used an incorrect definition of IPV in Doe’s Hearing, which required fewer

elements to be proved, and relied on conduct well outside the time during which Doe and Roe2

were involved in an intimate relationship to find Doe responsible for IPV. SOF ¶¶66, 174, 187.

On the other hand, QU used the correct definition of IPV in INV2 to find Roe not responsible for

charges based on the same evidence. SOF ¶¶177, 200. QU investigated the same set of facts and

                                                 12
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 13 of 64



time frame regarding Roe and Doe’s relationship in INV1 as INV2. SOF ¶200. Investigators in

INV2 concluded the behavior was mutual and did not have the necessary one-sided power dynamic

for IPV, finding Roe not responsible. SOF ¶214. Yet investigators in INV1, using the same

evidence, found Doe responsible for IPV. SOF ¶¶67, 200. In addition, INV1 included 18 witnesses

and took more than 4 months before it concluded, with Doe being found responsible; INV2

concluded 9 days after investigators interviewed Doe with no witnesses for Roe and 5 for Doe,

with Roe being found not responsible. SOF ¶¶19, 204, 207, 212. The numerous ways in which

QU treated Roe and Roe 2 more favorably than Doe in both disciplinary proceedings evinces a

pattern of preferential treatment of similarly-situated females sufficient to create an inference that

gender was at least in part a motivating factor for QU’s actions. Yusuf v. Vassar Coll., 35 F.3d

709, 715 (2d Cir. 1994). See Exhibit 129 for additional examples of preferential treatment of Roe

and Roe2.

       That these actions were undertaken against the backdrop of OCR 2011 guidance and

enforcement of T9 causing schools to feel pressure to favor females in T9 cases provides even

more reason to deny summary judgment on this ground. QU claims that Doe has adduced no

evidence of any Quinnipiac official being pressured by the supposed nationwide trend favoring

female students because of OCR’s enforcement of the 2011 DCL, Def. Brief at 6, but this is untrue.

OCR’s 2011 Dear Colleague Letter (“DCL”) began a sea change in OCR’s enforcement of T9,

focusing on female victims and underreporting of sexual assault. SOF ¶145. Media attention to the

DCL, responding Connecticut (“CT”) state law and subsequent federal government guidance

reinforcing the government’s commitment to requiring colleges to aggressively pursue sexual

assault focusing on female victims showcased the pressure colleges were feeling to comply with

                                                 13
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 14 of 64



OCR. Id. There was a significant uptick in the number of colleges OCR investigated for not

following T9 procedures, and in which OCR always found in favor of female complainants until

Fall 2016. Id.; Ex. 79.

       QU, through SK, TJ and others, was aware of OCR oversight generally, the potential for

investigation and loss of federal funding, and potential lawsuits. SOF ¶146. SK stayed abreast of

the evolving law and media and trained the T9 team on these topics. SOF ¶¶144, 224, 225. SK

recalled a training after the Doe case had ended, in which he discussed with colleagues the new

“countercurrent” in T9, with more focus on due process for respondents, and which “has shifted

the institutional response in a general.” Ex. 3, p.152, 17; 153, 5-7. He also recalled an OCR

investigation in the Fall of 2016 being the first time OCR had ever found in favor of a respondent.

Exs. 3, p.154, 10-15; 79. TJ testified that the government’s stricter enforcement of T9 on college

campuses in part was “looking to engage males—rather than only educating females to be not

raped, educating males, everybody, involving the males more vocally on affirmative consent and

men can stop rape. And changing the societal norms of those environments.” Ex. 2, p.86, 18-23;

see also Ex. 2, pp.90, 25; 91, 3-12 (QU’s “message to break underreporting . . . to make our process

and procedures more clear” was due to its investment in “changing away from rape culture.”). See

Collick v. William Paterson University, 2016 WL 6824374, at * 12 (D.N.J. 2016) (court took

judicial notice of 2011 DCL and noted that it was a commonsense inference that the attention to

the issue of campus sexual assault may have caused university to believe it was in the spotlight).

       Moreover, QU received targeted scrutiny by OCR in 2012 for claims of discrimination in

its student processes and, at the same time, was found by the Second Circuit to have discriminated

against women in violation of T9 and was under court-ordered monitoring for its compliance with

                                                14
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 15 of 64



T9, which continued through at least June 2016. SOF ¶147; Defendants Answer (Dckt.# 75 ) (“Def.

Answ.”) ¶25; see also Beidiger v. Quinnipiac University, 691 F.3d 85 (2d Cir. 2012). SK and the

T9 team were acutely aware of the consent decree requiring monitoring of QU for compliance with

T9 not only due to national press but because under that monitoring, QU’s T9 disciplinary

processes were reviewed. Exs. 3, pp.29, 17-25; 2, pp.48, 23-25; 49, 1-10.

       In 2012, SK created QU’s T9 policy to comply with the DCL. SOF 148 QU, TJ, SK and

CM implemented educational programming to comply with the DCL to increase reporting,

focusing its programs on female victims of sexual assault. SOF ¶148. This evidence creates a

reasonable inference that, due to OCR’s DCL and its enforcement, the pressure to comply with the

DCL and CT’s laws designed to protect female victims of sexual misconduct and harassment, and

the targeted OCR oversight of QU at the time for discriminating against females under T9, QU felt

pressured to and was motivated to favor female students over male students in its T9 disciplinary

proceedings. QU was focused on insulating itself from accusations that it had failed to protect

female students from sexual harassment and misconduct and on the avoidance of OCR

investigations, the loss of federal funding and potential litigation. See, e.g, Doe v. Columbia Univ.,

831 F.3d 46, 56–57 (2d Cir. 2016) (plaintiff's complaint pointing to student group criticism and

university statements was sufficient to raise a plausible inference of bias); Doe v. Miami Univ.,

882 F.3d 579, 594 (6th Cir. 2018) (complaint sufficient where university faced “pressure from the

government to combat vigorously sexual assault on college campuses and the severe potential

punishment—loss of all federal funds—if it failed to comply”); see also Doe v. Baum, 903 F.3d

575, 586 (6th Cir. 2018) (gender bias found where public pressure created backdrop combined with



                                                 15
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 16 of 64



other evidence). 9

        QU’s gender bias created by pressure to conform to the DCL is supported by statistics.

Reporting increased over the years at QU with many more women bringing complaints against

men than men against women. SOF ¶149; Ex N. T9 investigations rose from 1 in 2012 to 14 in

2013 (9 were females filing complaints against males and only 1 was a male against a female). Id.

Since 2011, QU chose to investigate 38 T9 complaints brought by females against males and only

4 T9 complaints brought by males against females. Id. QU found 19 men responsible when accused

by a woman, and only one woman responsible when accused by a man. Id.

        QU also imposed harsher sanctions on males accused by females than on females accused

by males: six male respondents, but no female respondents, were expelled or dismissed; three male

respondents, but no female respondents, were suspended; and eight male respondents, but only

one female respondent, were given deferred suspension. Id. These disparities provide concrete

evidence of gender bias. See Drisin v. Florida International University Board of Trustees, 2017

WL 3505299 at * 13 (S.D. Fla. 2017) (statistics showed a pattern of failure to adhere to school’s

guidelines and regulations resulting in gender skewed sexual misconduct charges); Bleiler v. Coll.

of Holy Cross, 2013 WL 4714340, at *6 (D. Mass. 2013) (“Title IX. . . permits an inference that a

significant gender-based statistical disparity may indicate the existence of discrimination.”). 10


9
 Courts routinely find sufficient inference of bias under facts similar to those here. See, e.g., Doe v.
Amherst Coll., 238 F.Supp.3d 195, 223 (D. Mass. 2017); Doe v. Lynn Univ., Inc., 235 F.Supp.3d 1336,
1340–42 (S.D. Fla. 2017); Neal v. Colorado State University-Pueblo, 2017 WL 633045 (D. Colo. 2017);
Doe v. The Trustees of the University of Pennsylvania, 270 F.Supp.3d 799, 823 (E.D. Pa. 2017); Doe v.
Rollins College, 2019 WL 208283 at *4 (M.D. Fla. 2019).
9
 Additional support for QU’s differential treatment of males than females in their student conduct processes
is shown by QU’s handling of the SR case. SOF ¶137. Doe was assaulted on two different occasions and
sustained injuries. Id. SR was given a lesser sanction for assaulting him twice and causing serious injuries

                                                    16
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 17 of 64



        Consistent with this pattern, QU treated Roe’s complaint much more seriously than Doe’s

similar complaint by immediately investigating Roe’s complaint against Doe; finding sufficient

evidence to hold a hearing; and finding Doe responsible for all violations. SOF ¶¶13, 66. QU

delayed responding to, and resisted initiating an investigation of Doe’s complaint against Roe

based on similar if not more egregious conduct but found there was insufficient evidence to go to

a hearing. SOF ¶¶93, 106. QU found Roe not responsible for any violations, which Roe never

denied. SOF ¶59, 174. Similarly, QU took Roe2’s complaint more seriously and brought an

administrative complaint against Doe after Roe2 described conduct in her interview about Doe

that could have been possible violations of T9, but did not bring an administrative complaint

against Roe2 or Roe after Doe identified conduct in his interviews regarding Roe and Roe2 that

could have been possible violations of T9, or even after he brought forward additional more

compelling allegations and evidence against Roe and Roe2 in his Response. SOF ¶¶16, 25, 40,

47.

        Additionally, QU’s actions in the disciplinary proceedings reflect a chauvinistic attitude.

Neal, 2017 WL 633045 at *9–10 (“The predominant question is whether the college’s actions were

motivated by gender bias or if the disciplinary procedures establish a pattern of decision-making

that applies a chauvinistic view of the sexes.”). LC’s acceptance of Roe’s claims of fear but not

Doe’s reflects stereotypical gender roles. SOF ¶210. In the Hearing, moreover, the Board appeared

visibly moved by Roe’s expression of emotion, despite that it was not all related to Doe. SOF ¶¶64,




than the sanction Doe would have received of at least 1-year suspension if Doe accepted responsibility for
allegedly putting his arm across Roe’s neck in self-defense, SOF ¶138, showing that QU treats males less
severely for hitting males that they treat males hitting females due to gender stereotyping.

                                                   17
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 18 of 64



184. VC was tearing up and appeared to be visibly shaken right after he heard Roe’s emotional

outburst when he retrieved Doe to escort him back to the hearing room and looked at Doe with

disdain and contempt. SOF ¶184, Ex.130, ¶¶62, 63. When the investigators lost their notes in

INV1, although they could not recall the substance of Roe’s words, they specifically noted that

she was emotional and very upset, something they thought was significant enough by itself to put

in the RR – as if that was evidence of credibility. SOF ¶164. QU took the words of Roe, Roe2 and

a female witness (AS) at face value that they were afraid of Doe, yet did not believe Doe when he

said he was afraid of and felt unsafe around Roe and took six months to follow up on his claims

of Roe’s harassment and violations of the NCO that he made in his first interview, relying on

stereotypical notions of gender. SOF ¶¶23, 85, 163, 210. This evidence creates a material issue of

fact as to whether QU was motivated by gender bias. See Schaumleffel v. Muskingum University,

2018 WL 1173043 at * 16 (S.D. Ohio 2018) (“Whether someone is a ‘victim’ is a conclusion to

be reached at the end of a fair process, not an assumption to be made at the beginning.”); Saravanan

v. Drexel University, 2017 WL 5659821 at *5 (E.D.Pa. 2017) (culture of gender bias against males

claiming sexual assault by females); Rolph v. Hobart & William Smith Colleges, 271 F.Supp.3d

386, 401 (W.D.N.Y. 2017) (manner in which investigation handled consistent with a “view of men

as predators and women as guardians of virtue”).

       QU’s failure to act in accordance with its T9 procedures designed to protect accused

students, as set forth in Section 3, Breach of Contract, also is sufficient to support an inference of

gender discrimination. See, e.g, Collick, 2016 WL 6824374, at * 11 (inference of bias created

where female’s allegations against male were accepted as true without investigation; males were

not given opportunity to respond or explain themselves; males did not receive proper notice; males

                                                 18
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 19 of 64



were not permitted cross examination; males were not given a list of witnesses against them; and

males were not provided a thorough and impartial investigation).

        Further, QU’s T9 policy language favors females. QU, TJ, SK and members of the T9 team

agree that using the words “complainant” and “respondent” is the balanced and neutral way to

refer to the parties in a T9 matter because using “accused” is more negatively weighted against the

respondent. SOF ¶257. Similarly, using the word “victim” is weighted in favor of the complainant.

Id. SK trained the QU T9 team to use the neutral terms of complainant and respondent, and that

language matters. 11 SOF ¶262; see Doe v. The Trustees of the University of Pennsylvania, 270

F.Supp.3d 799, 823       (E.D. Pa. 2017) (problematic that sexual violence policy referred to

complainants as “victims/survivors”); Schaumleffel v. Muskingum University, 2018 WL 1173043,

at * 16 (S.D. Ohio 2018) (“Whether someone is a ‘victim’ is a conclusion to be reached at the end

of a fair process, not an assumption to be made at the beginning.”); Doe v. Brown University, 166

F.Supp.3d 177, 189 (D. R.I. 2016) (professor held a debate to discuss rape issues and one female

debater remarked that males are “bad” and females are “victims;” professor commented that these

remarks were consonant with culture on campus).

        SK and TJ were responsible for editing and revising the T9 policy annually. SOF ¶231.

Yet, QU’s T9 policy used “complainant” and “accused” more than 50 times (showing QU’s biased

presumption against respondents in favor of women), as well as referring to complainants as

‘victims.’ 12 SOF ¶263. This language has never been changed. In fact, there have been no


10
   QU’s T9 expert testified that using complainant and respondent is neutral. Ex. 137, pp. 208, 11-25;
209, 1-25; 210, 1-23. Using “accused” is weighted negatively against the respondent; “victim” is
weighted in favor of the complainant. Id.
11
   Nationally and at QU, most respondents are men and most complainants are women. SOF ¶270.

                                                   19
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 20 of 64



substantive changes to the policy since its creation in 2012. SOF ¶231. TJ conceded she should

have changed the policy. Ex. 2, pp.160, 19-25; 161, 1-2. Even if QU’s training has evolved, the

T9 policy is a vestige of QU’s efforts to comply with the DCL and treat females more favorably.

        Additionally, members of the QU T9 team involved in Doe’s case were biased by personal

experience with sexual violence against females, victim advocacy roles, and affiliations with

sororities and pro-feminist orientations that infected the process with bias against males, adding to

the motivation to support women and find men responsible for sexual misconduct. SOF ¶269. See

Doe v. Case Western Reserve University, 2017 WL 3840418 at *7 (N.D. Ohio 2017) (T9

coordinator who was involved directly in proceedings made statements in her doctoral dissertation

that men were the sexual aggressors); Doe v. Washington and Lee University, 2015 WL 4647996

at * 10 (W.D. Va. 2015) (T9 officer’s bias based on article written for female-focused website);

Doe v. The Trustees of the University of Pennsylvania, 270 F.Supp.3d 799, 823 (E.D. Pa. 2017)

(university personnel publicly advocated for other colleges and universities to combat sexual

violence on campuses and strengthen protection of victims by engaging in ‘victim-centered’

responses). Each of these factors by itself is sufficient, but in totality this evidence should defeat

summary judgment for Counts 1 and 2.

       2. Count Three - Deliberate Indifference

       Count 3 asserts that QU was deliberately indifferent to harassment directed against Doe.

In the typical deliberate indifference case, “a plaintiff seeks to hold an institution liable for sexual

harassment and . . . [is required to] demonstrate that an official of the institution who had authority

to institute corrective measures had actual notice of, and was deliberately indifferent to, the

misconduct.” Sahm v. Miami University, 2015 WL 93631, at *4 (S.D. Ohio 2015). In addition to

                                                  20
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 21 of 64



not responding at all, “[d]eliberate indifference may be found both when the defendant's response

to known discrimination is clearly unreasonable in light of the known circumstances, and when

remedial action only follows after a lengthy and unjustified delay. [D]eliberate indifference will

often be a fact-based question, for which bright line rules are ill-suited.” Doe ex rel. Doe v. Derby

Bd. of Educ., 451 F. Supp. 2d 438, 447 (D. Conn. 2006); Doe v. Amherst College, 238 F.Supp.3d

195, 224 (D. Mass. 2017) (where school failed to take even minimal steps to determine whether

male student should be viewed as a victim allegations provided sufficient basis for deliberate

indifference claim).

        Contrary to QU’s argument, Def. Brief at 11, the record shows that QU officials with the

authority to take corrective action had actual notice that Doe was being discriminated in numerous

ways:

   (a) Doe told VC and AH in his three interviews in INV1 that Roe and Roe2 had harassed and
   stalked him, and that Roe, through her friends, was harassing him while INV1 was ongoing,
   SOF ¶¶23, 25, 88, 93;

   (b) On January 28, 2017, SK was informed Roe was breaching confidentiality and the NCO as
   retaliation or further sexual harassment, SOF ¶215;

   (c) SK, VC and TJ reviewed Doe’s Response that described the complainants’ harassment and
   stalking of him, that Roe was harassing him while the investigation was ongoing, that the
   investigators had done nothing about either, and requested that QU open administrative
   complaints against Roe and Roe2 and that his claims be investigated, SOF ¶¶37, 38, 47;

   (d) TJ reviewed his February 1, 2017 letter and February 17, 2017 email in which Doe raised
   the same issues, adding that the investigators had delayed investigating these claims of sexual
   misconduct and harassment, which in itself created a hostile environment and, as such, was
   sexual harassment, SOF ¶¶40, 48;

   (e) TJ, MD and VC read Doe’s appeal in which he raised 1) his previous allegations of sexual
   harassment by Roe and Roe2 and that investigators had done nothing (2) that investigators
   were discriminating against him based on gender because of their handling of the past and
   ongoing harassment by Roe in INV1 and (3) that TJ had been informed about all of the above

                                                 21
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 22 of 64



   and did nothing, SOF ¶¶76, 79, 197; and

   (f) Doe informed TJ on May 26, 2017 that INV2 was unfair in favor of Roe due to gender bias,
   SOF ¶213.

       Actual notice of discriminatory practices could not be clearer. This is more than sufficient

to defeat summary judgment on this element. See KB v. Daleville City Bd. of Educ., 536 Fed.

App'x 959 (11th Cir. 2013) (“[T]he actual notice must be sufficient to alert that official to the

possibility of the plaintiff's sexual harassment.”); Doe v. Amherst, 238 F.Supp.3d at 224 (where

school failed to take even minimal steps to determine whether male student should be viewed as a

victim sufficient basis for deliberate indifference claim).

       QU next argues that it did not ignore Doe’s complaint of sexual harassment or assault, it

simply did not find in his favor. Def. Brief at 11. The record includes substantial evidence that

QU’s actions clearly were unreasonable, and that many times QU ignored Doe’s complaints of

discrimination and handled his claims in violation of its own policies and T9.

        Concerning Doe’s allegations that Roe and Roe2 engaged in conduct that violated T9, the

investigators did not report them, investigate them or open administrative complaints as required

by T9 and QU’s own policies, training and practice, and as it did for Roe and Roe2 under the same

circumstances. SOF ¶¶13, 16, 25. In addition, when these very claims were brought to the attention

of SK and TJ, they told Doe they would not investigate his claims unless he filed a formal

complaint, notwithstanding the fact that Doe had told them he preferred not to because he did not

want to escalate the matter and experience further harassment and retaliation from Roe. SOF ¶¶47,

48, 50, 198.

        VC chose not to pursue Doe’s claims because he “could not corroborate them,” SOF ¶25,


                                                 22
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 23 of 64



but when TJ reviewed Doe’s same allegations, she determined there was reasonable cause to open

an investigation and did just that. SOF ¶199. Drucker failed to do anything in connection with

the appeal except communicate ex parte with QU employees to ask if they were discriminating

and then believe them when they said they were not; she did not speak with Doe or anyone else

about his claims. SOF ¶197. INV2 was a sham conducted in 9 days and closed even before

investigators had interviewed one of Doe’s witnesses, and when Doe brought the errors and

differential treatment of his and Roe’s complaints to TJ’s attention, she did not look into his claims

but simply advised him there was no recourse. SOF ¶¶ 201, 205, 207, 208, 210-13. QU delayed

investigating the breaches of confidentiality and violations of NCO’s until spring semester after

Doe had filed a TRO, and then conducted sham investigations of some of them, two by KK who

also conducted INV2, and gave varying, inconsistent explanations of what had happened in others.

SOF ¶¶ 23, 40, 87-90, 93-95. When Doe brought his claims of hostile environment based on

discrimination by the investigators to TJ in his Response, letters and emails, she did not investigate,

as required by QU’s T9 policy; instead, TJ relied on SK and VC to have acted professionally, as

did Drucker in the appeal. SOF ¶¶47, 197. Doe brought his concerns to QU at least 10 times. SOF

¶¶ 23, 25, 37, 40, 48, 85, 87, 93. TJ knew that Doe was extremely distressed and anxious due to

the overtly biased treatment, yet never spoke to Doe about his concerns. SOF ¶222. QU first

addressed Doe’s concerns of bias raised in his Response almost three months after his Response

when VC defended himself against Doe’s complaints at the Hearing, with no advance notice to

Doe, falsely accusing Doe of being untruthful in front of the Board, and undermining Doe’s

credibility. SOF ¶¶63, 195. Doe was not permitted to address this or correct it, in violation of QU’s

T9 Policy. Id.

                                                  23
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 24 of 64



        QU argues that the alleged harassment did not deny Doe access to educational resources or

opportunities. Def. Brief at 11-12. Due to the discriminatory manner in which QU conducted

INV1, including its failure to address Doe’s allegations of past and ongoing harassment by Roe

and Roe2, Roe was empowered to continue to harass Doe. Roe continued her harassment in

September and through the spring. See supra at page 22-23.

        After Doe received the RR at the end of October, he became increasingly anxious about

attending QU social events or going on campus because Roe could easily have approached him in

retaliation or for the purpose of fabricating more charges against him. Def. Answ. ¶165; Ex. 130,

¶74. Doe was deeply concerned because he believed QU would automatically continue to credit

Roe and more charges would be levied. Ex. 130, ¶74; see Jennings v. University of North Carolina,

482 F.3d 686, 699 (4th Cir. 2007) (deprivation of access to educational opportunities or benefits

includes when “the harassment (1) results in the physical exclusion of the victim from an

educational program or activity; (2) so undermines and detracts from the victim['s] educational

experience as to effectively deny [him] equal access to an institution's resources and opportunities;

or (3) has a concrete, negative effect on [his] ability to participate in an educational program or

activity.”).

        Faced with a possible one-year suspension, the loss of tuition and credits for the fall

semester and graduation a year later, the prospect of having to prove his innocence and respond to

the voluminous RR while studying for finals, Doe’s anxiety escalated. Ex. 130, ¶¶29, 30. This

caused Doe to get a “D,” the lowest grade he ever received at QU, in a course in his competitive

major. SOF ¶117. The time and labor Doe spent over winter break poring over the lengthy RR,

gathering evidence to prove he was not responsible, and putting together his Response, which

                                                 24
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 25 of 64



would not have been necessary had QU properly and fairly conducted its investigation, heightened

Doe’s anxiety and depression. Ex. 130, ¶¶30, 31.

       QU scheduled a hearing before seeing Doe’s Response on the first day of classes, against

advice from Cooper, QU’s disability officer. Ex. 130, ¶32; SOF ¶¶35, 36. SK and TJ did not

consider Doe’s Response and refused to re-investigate or answer any of Doe’s concerns, further

increasing his anxiety. SOF ¶¶38, 47. This caused him to seek treatment from his psychiatrist to

address the unfair investigation and ongoing harassment by Roe which was preventing him from

being able to defend himself, and QU’s handling of the matter. SOF ¶ 220, 221. Roe’s continued

breaches of confidentiality and harassment through her friends approaching him in public places

and discussing the IPV investigation during the Spring ruined Doe’s reputation and caused him to

avoid QU and other places where he thought she or her friends might be. SOF ¶¶126, 273.

        The extreme stress and anxiety from the continued unreasonable, discriminatory and

biased conduct of QU affected Doe’s educational activities at QU as well as his life beyond

graduation. SOF ¶276. Each day Doe wrestled with uncertainty as he faced the prospect of being

suspended or expelled at the upcoming hearing. Ex. 130, ¶40. It interfered with his studies, when

he was hoping to have his best grades as he neared the end of school and was seeking employment.

Ex. 130, ¶76. His contact with friends, classmates and professors dropped off precipitously as the

Hearing approached, impacting the very connections he should have been able to rely on as an

alumnus for life. Ex. 130, ¶77. He was completely prohibited from attending the Business School

graduation, without QU considering a plan that would keep Doe and Roe separated, in

contravention of the educational and safety purposes of QU’s sanctions. SOF ¶¶109, 110, 189.

Doe was not permitted to attend Senior week, which is the culminating event at QU, and his family

                                               25
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 26 of 64



was not permitted to attend any social events tied to graduation. SOF ¶¶110, 190. There was no

effort to adjust these sanctions in a way that would ensure Roe’s safety and permit Doe to attend

activities, despite many requests from Doe and his family. SOF ¶110. Doe and his parents were

devastated that they could not participate in Doe’s graduation, particularly in light of the challenges

Doe had overcome in terms of his disabilities and childhood. SOF ¶190. Doe was not permitted

on QU property, denying him access to campus resources without permission, which required extra

steps to seek to be on campus. SOF ¶¶70, 112. Doe requested permission to accept a summer

internship with a QU professor who was a possible employment contact. Defining the internship

as an educational activity, TJ permitted Doe to attend two weeks of it. SOF ¶¶114, 115. When he

requested to participate in the entire internship of ten weeks, and then for two weeks but at a

different time at his professor’s request, TJ denied Doe’s request and repeatedly refused to explain

why. SOF ¶115. In light of the struggle he had with TJ and her unreasonable denial with no

explanation, Doe had no reason to believe she would grant permission to attend any events or

access campus resources. SOF ¶191.

       There is substantial evidence that the harassment by Roe and Roe2 and QU’s

discriminatory handling of the harassment caused a negative and concrete effect on Doe’s

educational activities. There is ample evidence to deny QU’s summary judgment on Doe’s

deliberate indifference claim. Leader v. Harvard University Board of Overseers, 2017 WL

1064160 at * 4 (D. Mass. 2017) (plaintiff properly alleged that school had not acted reasonably to

prevent harassment when it continued: she informed school on multiple occasions that it was

ongoing, and that she was dropping shifts from her job and missing meals to avoid it); Wells v.

Hense, 235 F.Supp.3d 1, 9 (D. D.C. 2017) (where defendants’ response to the reported incidents

                                                  26
          Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 27 of 64



was to promise an investigation and appropriate consequences, but then failed to conduct a proper

investigation, punish the perpetrators, ensure that the victims were protected from future assaults,

and prevent the subsequent harassment by other students, all of which caused the victims to stop

attending school for the remainder of the year, school’s conduct could be found unreasonable);

Doe v. Forest Hills School District, 2015 WL 9906260 at *10 (W.D. Mich. 2015) (question of

fact as to whether school’s response was unreasonable where school merely “talked to” harasser

and told plaintiff to avoid him, put the onus on the plaintiff to report the harasser, and knew it’s

measures had been ineffective); Doe v. University of North Texas, 2017 WL 2402577 at *4 (E.D.

Tex. 2017) (harassment was severe and pervasive because it interfered with educational

opportunities such as going to school, the gym, the library, and social interactions and question of

fact existed as to whether school’s response was reasonable given delay in investigation, failure to

prevent further encounters, failure to keep plaintiff informed of measures it took and remedial

actions were inadequate to prevent it). For the foregoing reasons Counts 1, 2 and 3 should survive

summary judgment.

   C.     The State Law Claims Survive Summary Judgment

        1. Count Four – Breach of Contract

        In Johnson v. Schmitz, 119 F.Supp.2d 90 (D. Conn. 2000), this Court described the

contractual underpinning of the student / university relationship:

        [T]he basic legal relation between a student and a private university or college is
        contractual in nature.... [T]here seems to be no dissent from [the] proposition that
        the catalogues, bulletins, circulars, and regulations of the institution determine the
        contractual relationship between the student and the educational institution.... [A]
        court that is asked to enforce an asserted contract between a student and his
        university must examine the oral and written expressions of the parties in light of

                                                  27
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 28 of 64



       the policies and customs of the particular institution.... Because a student bases his
       or her decision to attend a college or university, in significant part, on the documents
       received concerning core matters, such as faculty, curriculum, requirements, costs,
       facilities and special programs, application of contract principles based on these
       documents and other express or implied promises, consistent with the limitations
       expressed in Gupta v. New Britain General Hospital, 239 Conn. 574, 687 A.2d 111
       (1996), appears sound.

Id. at 93 (citations and internal quotation marks omitted). Under Gupta v. New Britain General

Hospital, 239 Conn. 574, 592-93 (1996), “courts will entertain a cause of action for institutional

breach of a contract for institutional services . . . if the educational institution failed to fulfill a

specific contractual promise distinct from any overall obligation to offer a reasonable program.”

        This Court has recognized that, to support a claim under Gupta, a “specific contractual

promise … must have been precise and based on specific contractual terms or provisions.” Kloth-

Zanard v. Amridge University, 2012 WL 2397161 at * 4 (D. Conn. 2012). This Court also has held

that provisions in student handbooks constitute “specific contractual promises” supporting breach

of contract claims. See Mario v. Yale University School of Medicine, 2006 WL 908155 at * 5 (D.

Conn. 2006); Johnson v. Schmitz, 119 F.Supp. 2d 90, 92-97 (D. Conn. 2000); see also Ross v.

Creighton University, 957 F.2d 410, 416 (7th Cir. 1992) (“catalogues, bulletins, circulars, and

regulations of the institution made available to the matriculant become a part of the [education]

contract” [internal quotation marks omitted]); Okafor v. Yale University, 2004 WL 1615941 at *

6 (Conn. Super. June 25, 2004) (disciplinary proceeding rights conferred on plaintiff by “Yale’s

Undergraduate Regulations” contractually binding on Yale).

        Courts specifically have recognized breach of contract claims arising in the context of

school disciplinary proceedings. Policies articulated in student handbooks give rise to contractual


                                                  28
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 29 of 64



obligations and a failure to adhere to those policies creates a cause of action. See Doe v. Belmont

University, 334 F.Supp.3d 877, 891-92 (M.D. Tenn. 2018) (school’s failure to follow procedures

outlined in sexual misconduct guide sufficient to state a breach of contract claim); McCarty v.

Yale University, 2017 WL 4508771 at * 4 (Conn. Super. Aug. 29, 2017) (expulsion was not

grounded in academic, but in disciplinary reasons, judicial deference was not required and the

matter fell squarely within the court’s competency); Faraclas v. Botwich, 2005 WL 527961 at * 6

(Conn. Super. Jan. 25, 2005) (court denied the school’s motion for summary judgment, finding

that there was an issue of fact relative to whether a contract existed, what its terms were and

whether it was breached); Goodman v. The President and Trustees of Bowdoin College, 135

F.Supp.2d 40 (D. Maine 2001) (student handbook language stating that college acknowledged its

responsibility to conduct judicial procedures which reflect fundamental fairness sufficient to state

claim for breach of contract).

       The defendants rely heavily on Gupta, a case in which a surgical resident was discharged

from the defendant hospital’s residency program for lack of proficiency and skill in connection

with his training to be a physician. Unlike this case, Gupta did not involve a college’s failure to

follow its policies and procedures in connection with disciplinary proceedings. Contrary to the

defendants’ argument, this case falls squarely within Gupta’s exception. Doe agrees that Gupta

provides the proper basis for his breach of contract claim, but defendants seriously misinterpret

the holding of that decision.

       First, defendants attempt to miscast Doe’s breach of contract claim as a claim for

“educational malpractice.” Def. Brief at 15. This position not only is at odds with Gupta, which

expressly recognizes breach of contract claims, it is at odds with defendants’ position elsewhere

                                                29
          Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 30 of 64



in their brief: “[i]n cases such as this one, in which a student alleges that he was wrongfully

disciplined for violating a university’s code of conduct, are evaluated as claims for breach of

contract.” Def. Brief at 44.

         Second, defendants cite Gupta for the proposition that claims alleging contractual breaches

by educational institutions are viable only if supported by the defendant’s “arbitrary, capricious or

bad faith conduct.” Def. Brief at 17-18. This standard, however, applies not to breach of contract

claims, but to claims based on improper “academic decision-making” based on the “determination

whether to dismiss a student for academic reasons.” Gupta, 239 Conn. at 594-97; See McCarty v.

Yale University, 2017 WL 4508771 at ** 3-4 (Conn. Super. Aug. 29, 2017) (rejecting argument

that plaintiff claiming breach of contract following discipline must establish that decision “was

made arbitrarily or in bad faith.”). 13

         QU and Doe clearly were parties to a contract, whether express or implied, which involves

no legal difference. Boland v. Catalano, 202 Conn. 333, 337 (1987) (“A true implied [in

fact] contract can only exist [however] where there is no express one. It is one which is inferred

from the conduct of the parties though not expressed in words.”); Demoulas v. Quinnipiac

University, 2015 WL 1427951 at* 4 (Conn. Super. Mar. 5, 2015) (trier of fact could find an implied

contract between the plaintiff and QU and that the Student Handbook and the Student Code of

Conduct were a part of that contract).


13
    Defendants also rely on Vogel v. Maimonides Academy of Western Conn., Inc., 58 Conn. App. 624 (2000),
which is readily distinguishable from this case as there were no claims in Vogel that the school implemented
disciplinary action or that it failed to follow its policies or procedures. Similarly, Hope Academy v. Friel, 37 Conn.
L. Rptr. 535 (2004), was essentially a collections action brought by a school against the parents of a child who
counter-claimed, asserting that the school failed to provide educational opportunities for their daughter. The issues
in that case had nothing to do with disciplinary procedures at all.


                                                          30
          Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 31 of 64



         Pursuant to the contract, QU offered to provide a college education with all of its attendant

benefits, including the right to defined policies and procedures for the adjudication of disciplinary

matters as articulated in its publications. Exs. 14, 50, 61. In exchange, Doe paid it a hefty tuition

fee. Ex. 130, ¶¶4, 5. Within those publications, QU made specific promises to its students outlining

the duties to which it bound itself in exchange for their decision to attend the school. See infra pp.

32-46.

         QU next argues that if Doe’s claims fall under the Gupta exception, there are no clear and

definite promises, and if promises exist, there was no “material breach.” Doe had an expectation

of receiving a college education pursuant to the contract. He also had a reasonable expectation

that Quinnipiac would follow the procedures and policies stated in its Student Handbook (“Code”),

ADA Policy and T9 Policy. SOF ¶229; Ex. 3, p.159, 13-33 (explaining the purpose of having T9

policy is “so people know what the expectations are if they have to go through one of these

processes,” so that they understand what conduct is prohibited and their rights and

responsibilities); Ex. 3, p.160, l-6 (QU expects students to abide by its policies.); Demoulas, supra.

         Defendants also advance the idea that their breach somehow is actionable only if it

constitutes a “material breach” rather than an “immaterial breach.” Def. Brief at 19 (discussing

“material” and “immaterial” breaches, and noting that the latter “may occasion liability for

damages”); Id. at 22-25, 27-32, 34-37 (stating, with respect to specific promises made and violated

by defendants, plaintiff’s alleged inability to establish a “material breach”). They offer no legal

support for this novel concept. 14 Contrary to the position taken throughout Defendants’ brief, Doe


14
   QU also asserts that because its flawed investigation and hearing culminated in findings of
responsibility, Doe materially breached the subject contract, and this vitiates any “material breach” of the

                                                    31
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 32 of 64



may survive summary judgment if a reasonable jury could conclude that the Defendants breached

their obligations under the QU Documents, whether material or immaterial. Alaimo v. Beacon

Industries, Inc., 89 Conn. App. 363, 365 (2005) (“Whether there has been a material breach of a

contract is a question of fact.”).

        Notwithstanding their repeated reference to Doe’s purported violation of Code provisions,

the defendants argue that the Code cannot be the basis for a breach of contract claim due to a

disclaimer. Def. Brief at 20-21. QU already has been on the losing end of this argument regarding

its Code, and the T9 policy contains no such disclaimer. Ex. 14; see Demoulas, 2015 WL 1427951

at * 4; see also Atria v. Vanderbilt University, 142 Fed. Appx. 246 (6th Cir. 2005) (student

handbook stating that policies did not constitute a contract may be enforced as implied contract).

        The record includes numerous examples of specific promises contained within QU’s

policies and which QU breached. QU promised its students in its disciplinary proceedings at least

the following:

        a. QU promised that it “complies with Title IX of the Education Amendments of
1972, which prohibits discrimination on the basis of sex in educational programs or activities
that receive federal financial assistance.” Ex. 14, p. 1.

        This promise was breached in numerous ways, illustrated in Section B, supra. QU utterly

failed to “provide an environment free from gender-based discrimination and harassment” and is

clearly not compliant with T9. QU discriminated against Doe on the basis of sex throughout its

investigation of the claims directed against him and those he brought against Roe and Roe2. In



contract by QU. Def. Brief at 20. It was the very inadequacies of the process, including the processes of
the investigation and the hearing, that culminated in the erroneous finding of responsibility. Therefore,
the Defendants cannot use these inadequacies as both sword and shield – namely as a sword to punish
Doe and as a shield to insulate themselves from liability.

                                                   32
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 33 of 64



addition, T9 imposes specific requirements on colleges’ handling of disciplinary proceedings,

which QU promised in its policy as set forth below. It also requires colleges to follow their own

T9 policies. SOF ¶¶229, 232, 279; Ex. 65, p.8. Each time QU failed to follow its T9 policy it also

failed to comply with T9.

       b. QU promised that it would provide proper notice to respondents.

       The QU T9 policy pertaining to formal investigations explicitly states that it will “give the

accused individual proper notice of the investigation.” Ex.14, p. 21. The Code states:

     A student who has been charged with a violation of the Student Code of Conduct is
     granted fundamental fairness in the form of the following rights as part of this process:

     • Notice—The right to be informed, in writing, of the specific alleged violation(s) of the
       Student Code of Conduct in which the student is suspected of involvement.

     • Procedures—The right to be informed orally and/or in writing of the conduct
       procedures.

Ex. 61, p. 61.

     Prior to being interviewed about the charges lodged by Roe and Roe2, Doe was given no

notice of whether he was being charged with something, what those charges were, who the

claimants were or what sections of the QU policies were at issue. SOF ¶150. He was simply

summoned to meet with investigators who had been “assigned to investigate a complaint” and told

that they wanted to ask him questions about a “situation.” Ex. 81. This is a clear breach of this

contractual promise. 15 See also, Exs. 66, p. 13; 71, p.4; SOF ¶280.



14
  Demoulas v. Quinnipiac University, 2015 WL 1427951, *5 (Conn. Super. Mar. 5, 2015); Doe v.
Belmont University, 334 F. Supp.3d 877, 891 (M.D. Tenn. 2018); Fellheimer v. Middlebury College, 869
F.Supp. 238, 246 (D. Vt. 1994); Doe v. Western New England University, 228 F.Supp.3d 154, 174-175
(D. Mass. 2017).

                                                33
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 34 of 64




         c. QU’s Code guaranteed that students charged with violations were granted
“fundamental fairness,” see section b., above; see also Ex. 14, p. 6 (“assures a fair process for
. . . accused”).

    An assurance of fundamental fairness in disciplinary proceedings has been held to constitute

an enforceable contractual promise, see Demoulas v. Quinnipiac University, 2015 WL 1427951 at

* 6 (Conn. Super. Mar. 5, 2015); Goodman v. President and Trustees of Bowdoin College, 135

F.Supp. 2d 40, 57 (D. Maine 2001) (student handbook language stating that college acknowledged

its responsibility to conduct judicial procedures which reflect fundamental fairness sufficient to

state claim for breach of contract), and includes notice, the chance to present witnesses and

exculpatory evidence and the opportunity to be heard and meaningfully participate in an unbiased

hearing. None of these were provided to Doe in another breach of the contract by QU. See

Demoulas, 2015 WL 1427951 at *5.

        d. QU promised that responsible employees will “promptly report any incidents
of sex discrimination or sexual misconduct they may witness or become aware of.” Ex. 14, p.
5; see also Exs. 65, p. 4; 66, pp. 14, 15; 79, p. 4.

       The QU T9 policy required the investigators to report Doe’s allegations of sexual

harassment and stalking by Roe and Roe2 to the T9 coordinator or deputy coordinator. Ex. 14, p.

5. When alerted in his interview in INV1 that Doe had been (and continued to be) the victim of

harassment and stalking by Roe and Roe2, the investigators failed to report this to the T9

coordinator and took no steps to prevent its recurrence. SOF ¶¶23, 25. When Doe reiterated his

concerns, the investigators again failed to report it. SOF ¶¶25, 37, 38, 40. Doe’s claims were




                                               34
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 35 of 64



ignored and no guidance was provided to him about any next steps to be taken to avail himself of

this clear promise that the school would investigate his complaints responsibly. SOF ¶¶38, 44, 47.

         e. QU promised it would “investigate all incidents about which the university knows
or has reason to know to protect the health and safety of the university community and the
university will investigate issues raised anonymously or by third parties.” Ex. 14, p. 3 (see
id., p. 21, QU promised to “conduct an immediate initial investigation to determine if there
is cause to proceed with further investigation.”); see Exs. 79, p. 4; 65, p.4; 66, p. 14-15.

    When Doe reported the prior stalking and harassment to the investigators on at least five

occasions, in his three interviews, his Response and his February letter to TJ, they did not

investigate. SOF ¶¶25, 38, 40, 44, 47. The defendants also breached this promise by failing to

investigate Doe’s claims in INV1 and waiting two months to follow up on his formal complaint in

INV2. SOF ¶202. Defendants also failed to report or investigate Doe’s allegations of ongoing

harassment by Roe starting in September 2016, and left Doe exposed to the repeated misconduct

through April 2017. SOF ¶¶23, 85, 88. These were both contractual violations. Novio v. New

York Academy of Art, 317 F.Supp.3d 803, 813 (S.D.N.Y. 2018) (promise to respond promptly to

complaints of sexual harassment and to take immediate action to eliminate sexual harassment

articulated in student handbook and on school’s website held adequate to support breach of

contract claim).

       f. QU promised that claimants and respondents had “the right to have the Title IX
grievance process fully explained, and to receive written notice of all Student Conduct Code
charges at least 48 hours before a committee hearing.” QU T9 Policy, p. 13.

       The Code requires that a student accused of a violation be “informed orally and/or in

writing of the conduct procedures.” Ex. 61, p. 68. The investigators explained nothing to Doe

about the conduct procedures when he made his reports to them about ongoing stalking and

harassment by Roe and Roe2 in INV1 or INV2. Ex. 130, ¶19.

                                               35
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 36 of 64



       g. QU promised that an accused student “has the right to . . . address concerns of bias
and/or conflict of interest in regard to committee members.” Ex. 14, p. 14.

      Doe was denied this right when he notified SK and TJ that MB had previously been involved

in two student matters involving him. SOF ¶46. Although he brought this to the attention of SK

and TJ, it was repeatedly disregarded notwithstanding the obvious conflict that he had identified.

SOF ¶¶ 42, 46, 49, 56; Ex. 130, ¶¶6-12. This was another violation of QU’s contract. See Doe v.

Rider University, 2018 WL 466225 at *13-14 (D. N.J. 2018) (breach of contract claim properly

based on alleged failure to provide impartial investigators and hearing panel).

      h. QU promised Doe would have the right to “review all documents and reports
produced by the investigation . . . at least 24 hours prior to the hearing,” and “to challenge
information and documents prior to the hearing.” Ex. 14, p. 14.

       Doe was afforded neither of these rights. On the day of the hearing, VC submitted an 11-

page document that Doe had never seen before and which contained new information about the

investigation. SOF ¶¶63, 195. Doe had not reviewed it, analyzed it or had any chance to object to

its contents in advance of the hearing, as required by the T9 Policy. Ex. 130, ¶53. These were

both contractual violations. See Doe v. Brandeis University, 177 F.Supp.3d 561, 606 (D. Mass.

2016) (failure to provide timely access to examiner’s report sufficient to state breach of contract).

       When Doe was provided the RR on January 27, 2017, it contained additional information

from communications with Roe and Roe2 that he had never seen and to which he had never been

given a chance to respond. SOF ¶39; Ex. 130, ¶35. Again, QU breached its contract by depriving

Doe of his right to challenge this information before the Hearing.

     i. QU breached its contract when it failed to allow Doe to challenge information and
documents prior to the hearing.

       See, section h., above.

                                                 36
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 37 of 64



       j. QU promised students accused of misconduct have “[t]he right to be present and
participate in the committee hearing.” Ex. 14, p. 14.

    Doe’s ‘participation’ was limited to submission of a handful of questions and the reading of

an impact statement after a finding of responsibility had been made. SOF ¶65, 68, 181, 182. Doe

could not make an opening statement, introduce evidence or call or cross-examine witnesses or

parties, resulting in a breach of QU’s contract. SOF ¶¶181.

       k. QU promised the Board would decide the matter by a preponderance of the
evidence based on credible, relevant and convincing evidence. Exs. 61, p. 64; 14, p. 16; 65,
p. 11.

    Given the bias that infected the entire investigation and the Board’s reliance on the report

spawned from that bias, QU relied on neither credible nor convincing evidence. The QU

investigators did not take into account information made available to them that undermined the

credibility of Roe and Roe2, notwithstanding Doe’s attempts to put it before them. SOF ¶¶37, 38,

155-58, 160, 170. Since the Board simply relied upon VC’s report in making its conclusions, there

could not have been any credible and convincing evidence for it to consider. SOF ¶¶66, 187. Their

use of the incorrect definition of IPV, which contained fewer elements, coupled with the fact that

they relied on evidence beyond the time frame of the relationship to conclude Doe was responsible,

further detracts from any analysis about preponderance. SOF ¶¶174, 176, 187. Moreover, given

that SK shredded any and all notes created by Board members, there is no way to know what

evidence they used and/or relied upon or what standard, if any, they used to reach their conclusions.

SOF ¶259; see, Section A, supra. Doe should be granted an inference that whatever was contained

in those records was damaging to QU’s defense. See Doe v. Norwalk Community College, 248

F.R.D. 372, 375-82 (D. Conn. 2007).


                                                 37
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 38 of 64



          l. QU promised that its investigators and the Board would employ the definitions
in the T9 Policy.

    The definition of IPV the Board used in finding Doe responsible was not derived from QU’s

T9 Policy, imposing a lesser burden on QU than was required by the T9 Policy. The Board applied

the following standard:

    University policy defines Intimate Partner Violence as a pattern of behavior that is typically
    determined based on the repeated use of words and/or actions and inactions in order to
    demean, intimidate, and/or control another person. This behavior can be verbal, emotional
    and/or physical. Ex. 51.

    The definition of IPV from QU’s T9 Policy states:

    Relationship violence is a pattern of behavior in an intimate relationship that is used to
    establish power and control over another person through fear and intimidation. A pattern of
    behavior is typically determined based on the repeated use of words and/or actions and
    inactions in order to demean, intimidate, and/or control another person. This behavior can be
    verbal, emotional and/or physical. Examples include, but are not limited to: striking another
    person (slapping, punching, etc.), property damage, reckless behavior, name calling and
    insults, public humiliation, harassment directed toward friends and acquaintances, and verbal
    and/or physical threats. Ex. 14, p. 11.

    The Board’s definition excluded several elements of the definition published in QU’s

materials and resulted in a much lower threshold for finding Doe responsible. SOF ¶¶66, 174. The

Board also used an incorrect interpretation of “intimate relationship” by relying on evidence

outside of an intimate relationship, as did the investigators. SOF ¶¶172, 176. Notably, QU used

the definition from the actual T9 Policy when investigating Doe’s claims against Roe and Roe2.

SOF ¶177. The failure to use the definition from the T9 Policy is another breach of contract by

QU. see Doe v. Western New England University, 228 F.Supp.3d 154, 170 (D. Mass. 2017)

(breach of contract where plaintiff found responsible for conduct that was not defined as prohibited

in operative policy).


                                                38
           Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 39 of 64



     m. QU promised to respond to complaints promptly, thoroughly and equitably and to
conduct an unbiased investigation. Ex. 14, p. 16. See also, Exs. 65, pp. 9-10, 12, 18; 66, p. 25.

       Upon receiving a report, the university will respond promptly, equitably and thoroughly.
       When conducting a formal investigation, QU promised to: commence a thorough and
       impartial investigation by developing a strategic investigation plan, including a witness list,
       information list, intended investigation timeframe, and order of interviews for all witnesses
       and the accused individual. QU T9 Policy, p. 16.

       For all of the reasons stated above, the conduct of QU throughout this ordeal was not prompt,

thorough, equitable or impartial. 16 In INV2, no new evidence was sought, obtained or considered

by the investigators; rather, they simply reviewed VC’s report from INV1 and reached pro forma

conclusions that correlated with it. SOF ¶208; see also ¶¶204, 205, 207, 210, 212. INV1 fell well

short of this standard for numerous reasons, including that the investigators did not evaluate

anyone for credibility; did not include a rationale in its report; did not question Roe about the

alternative motive for filing a complaint; did not follow-up on ambiguous evidence with the parties

or witnesses or to establish reliability; did not include all relevant information in the report; and

did not interview relevant witnesses for Doe. SOF ¶¶151, 153, 155, 157-60, 166, 247.

       n. QU promised to allow respondents to present a defense. Ex. 14, pp. 6, 14.

       This promise is implicit in the rights of the accused and the “fair” process for the accused. Ex.

14, pp. 6, 14. QU deprived Doe of a defense relative to the charges brought against him in

numerous ways: in failing to interview witnesses provided by Doe; not considering any of the

information he provided that showed Roe and Roe2 lacked credibility; not considering his response

to the RR prior to the hearing; not interviewing him or any additional witnesses after receiving his




16
     See Ex. 129

                                                   39
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 40 of 64



response; prohibiting him from speaking at the hearing except to answer a few questions; and not

asking questions of the parties or witnesses. SOF ¶¶ 25, 47, 153, 155, 159, 193.

    o. QU promised to maintain communication with the parties on the status of the
investigation and overall process; if the procedures lasted longer than 60 days, “to
communicate the reasons and expected timeline to all parties.” Ex. 14, p. 20.

      QU took four months to investigate Doe’s claims once he made a formal complaint. SOF

¶¶25, 48. No one at QU communicated with Doe about the more than two-month delay in

investigating his formal complaint, as TJ conceded, in breach of its promise. SOF ¶201.

     p. QU promised to “take steps to prevent the recurrence of misconduct and correct its
effects.” Ex. 14, p. 1.

      When Doe reported stalking and harassment by Roe and Roe2 to the investigators, they failed

to report it to the T9 coordinator and made no suggestions to Doe about what he should do to stop

and prevent it. SOF ¶ 25; Ex. 130, ¶19. They delayed looking into Doe’s claims of continuing

harassment by Roe beginning in September, and when they finally did, they conducted woefully

inadequate ‘investigations,’ failing to meet the minimal standard for charging a violation of the

NCO, empowering Roe to continue to harass Doe further violating the QU contract. SOF ¶¶90,

95.

     q. QU promised to guide complainants “with regard to how much detail is needed in an
initial report.” Ex. 14, p. 5.

      Despite this assurance, Doe received no guidance from anyone when he reported the

harassment and stalking by Roe and Roe2, and no one spoke with him, about him or guided him

when he was forced to file a “formal” complaint. SOF ¶¶50, 222.

    r. QU promised it would keep all records, files and proceedings appropriately private
and would share materials and information prepared or acquired under Title IX procedures
only as necessary with investigators, witnesses and other relevant parties.

                                               40
           Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 41 of 64




    The QU T9 Policy, ADA Policy and Code all contain specific assurances relative to the

privacy.

    “Only people who have a need to know about the issue will be informed, and materials and
    information prepared or acquired under Title IX procedures will be shared only as necessary
    with investigators, witnesses and other relevant parties” . . . and that both complainants and
    respondents have: “The right to privacy, and the assurance that information regarding the
    complaint will be shared only with those necessary.” Ex. 14, pp.5, 13-14.

    QU has the responsibility to “assure appropriate confidentiality of all information pertaining
    to a student’s disability.” Ex. 50, p. 7.

    The Code provides that a student accused of a violation has the right to “Privacy—The right
    to have all records, files and proceedings kept appropriately private,” and that “[o]nly people
    who have a need to know about the incident will be informed, and information will be shared
    only as necessary with investigators, witnesses and the accused person(s).” Ex. 61, pp. 68,
    80.

    As part of his defense, Doe sought to advise the Board of his disabilities because of the effect

they might have on their assessment of his credibility and because they provided an alternative

explanation for his underlying conduct. He asked QU to provide information to the Board without

sharing it with the complainants. SOF ¶46, 55, 264; Ex. 130, ¶45; Def. Answ. ¶67. When he made

his request, SK denied it, stating that any information he provided - even of such a sensitive and

private nature - would have to be disclosed to Roe and Roe2. SOF ¶¶ 264, 265. Doe was forced

to waive his right to confidentiality or not have the information considered at all, a dilemma which

should not have been placed on him. SOF ¶265; Ex. 130, ¶46. No one spoke with the QU Disability

Office to ascertain whether this was a reasonable accommodation, or with Roe to ascertain whether

she might agree to confidentiality. SOF ¶265. This was another contractual violation.




                                                41
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 42 of 64



     s. Complaints “alleging discrimination on the basis of sex in any University program or
activity” will be handled by TJ, for which QU follows a specific procedure. Ex. 14, pp. 7-8.

       Doe brought his concerns about the investigators’ gender-biased investigation directly to

TJ in February and asked her to investigate it. SOF ¶40. TJ did not follow appropriate procedures

in the T9 Policy, which required her to investigate Doe’s complaint. Instead, she dismissed them

with no further process when it is clear that Doe’s allegations, taken as true, would have constituted

a violation of the T9 policy. SOF ¶¶47, 178.

     t. QU promised to comply with the ADA, to provide reasonable accommodations and to
modify its programs to permit students to use the T9 procedures. Ex. 14, p. 9; 61, p. 71; Ex.
50, p. 5.

    Doe put QU on notice that he required accommodations to participate meaningfully in the

disciplinary process. SOF ¶¶ 29, 32, 221; Def. Answ. ¶¶60, 61. QU failed to consider any

alternatives to a hearing as requested by Doe and his therapist and failed to allow someone trained

in disabilities to advise the Board about his disability and how it affected his underlying conduct

and credibility in the interviews and at the hearing. SOF ¶¶55, 57, 180; Ex. 130, ¶44. They did

not permit his therapist to testify as a witness on his behalf at the hearing and failed to review

INV1 in the context of how his disability played a part once informed of it in October 2016. SOF

¶57; Ex. 130, ¶44. Rather than accommodating Doe, QU made it more difficult when (1) it failed

to assist Doe with understanding the process of making complaints against Roe and Roe2 when

their policies required that they do so; (2) it deliberately scheduled the hearing in INV1 for the one

day identified by Cooper as posing the greatest problem for him; (3) no one even spoke with Doe

about his concerns knowing that he was extremely stressed and anxious about the Hearing; and (4)

it failed to furnish him with the 11-page document relied upon by VC prior to the date of the


                                                 42
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 43 of 64



hearing to give him adequate time to review it, understand it and defend against it in light of his

disability. SOF ¶¶35, 36, 63, 195, 219, 222; Ex. 130, ¶19, 53. These are all violations of QU’s

contractual promise to comply with the ADA.

    u. QU promised that the parties could “appeal the finding and sanction of the committee,
in accordance with the appeal guidelines” in QU’s T9 Policy. Ex. 14, p. 14.

    The appeal of the finding of responsibility did not conform with the policies articulated in

QU’s T9 Policy.

    If the appeal letter(s) does not bring forward sufficient grounds for appeal, the appeal will be
    denied and the matter will be closed. If the appeal officer determines the appeal should be
    considered, he or she may decide to

    •   affirm the decision of the committee. In this case, the initial decision is final.
    •   remand the matter back to the committee to make a decision in light of the appeal officer
        or panel's findings.
    •   initiate a new Title IX Grievance Committee hearing.

Ex. 14, p. 20.

    Rather than follow these procedures and decide whether there were any issues on the papers,

MD conducted her own ex parte ‘mini investigation’ and spoke only to the QU employees who

were involved. SOF ¶197. Because she believed them, she took no further steps and affirmed the

Board’s decision for all issues but one. Id. This procedure is not found in any QU policy or

procedure (nor is the designating of an appeal panel), and it constitutes another breach of contract.

See Atria v. Vanderbilt University, 142 Fed. Appx. 246, 255-56 (6th Cir. 2005); Neal v. University

of North Carolina, 2018 WL 2027730 at * 7 (E.D.N.C. 2018) (breach of contract claim permitted

to go forward as to failure to follow promised procedures in appeal process).




                                                 43
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 44 of 64



   v. QU promised it would “meet with the complainant to inquire about and finalize the
complaint” after reviewing the complaint. Ex. 14, p. 21.

     See section Q supra.

    w. QU promised to select a second trained investigator to assist with the formal
investigation. Ex. 14, p. 21.

     When AH was no longer involved in Doe’s investigation, QU did not appoint a replacement,

in violation of this provision. SOF ¶38.

    x. QU promised to train employees involved in the T9 process annually on T9 issues,
investigations and hearing practices and appeals. Ex. 14, p. 16.

    The Title IX Grievance Committee shall be composed of university staff members who are
    trained annually on Title IX issues, investigations and hearing practices. In each hearing, the
    committee shall consist of three members, with one designated as the chair, who is charged
    with conducting the hearing. . .During the formal investigation, the deputy coordinator, or a
    trained lead investigator identified by the deputy coordinator, will: • identify and select a
    second trained investigator to assist with the formal investigation. Ex.14, pp. 15, 16.

    Based on their conduct throughout the investigation, it is apparent that VC and AH lacked

appropriate training. SOF ¶¶ 224, 226. They failed to follow many of the T9 policies articulated

in the QU publications, which demonstrates their lack of training. See sections supra a,-e, l, and

m-q. Additionally, they did not consider credibility assessments in writing their RR, include any

rationale in the report, or investigate Doe’s claims of sexual harassment by Roe and Roe2 as

required by the policies. SOF ¶¶ 160, 166. AH and VC testified they never received training on

credibility which QU requires. SOF ¶227. The Board also was not trained, and included no

sanction rationale, used the wrong definition of IPV in the Outcome Letter (which at least one

member relied on), relied on evidence outside the time period of the relationship (in violation of

the QU definition), and found Doe responsible by a preponderance, despite the fact that the weight

of evidence was in favor of Doe. SOF ¶¶ 66, 174, 175, 188. The failure to train the investigators

                                               44
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 45 of 64



was another contractual violation by QU. See Novio v. New York Academy of Art, 317 F. Supp.3d

803, 813 (S.D.N.Y. 2018) (“Defendant’s assertion ‘to designate a Title IX coordinator who is

trained and experienced to address complaints of sex discrimination’ is a clear and plain statement

of a specific [promised] service….”).

    y. QU promised that witnesses to incidents or those otherwise involved in the matter
before the committee would not serve as advisers. Ex. 14, p. 17.

    QU allowed TC to serve not only as a witness, but also as an adviser to Roe during the hearing

and investigation process. SOF ¶ 192. Further, QU allowed him to be Roe’s advisor during INV2,

when he clearly was tainted by his participation in INV1. Ex. 60, p. 29. This was a violation of

policy and of the contract.

     z. QU promised that “retaliation against any person in the university community for
alleging a violation of Title IX or for cooperating in any investigation, proceeding or hearing
relating to an alleged violation of Title IX is strictly prohibited and may result in disciplinary
action, including additional interim or permanent measures. Any concerns regarding
retaliation should be addressed immediately with the university Title IX coordinator or
deputy coordinator.” Ex. 14, p. 5.

    The fact that QU took no action to address Roe and Roe2’s retaliation against Doe during

these proceedings was another breach of contract by QU. See, supra sections d and e.

   aa. QU failed to afford Doe his right to an investigation and appropriate resolution of all
credible complaints of sexual misconduct, gender-based discrimination and/or harassment.
Ex. 14, p. 1.

   See sections a, d, e, f, m, n, p, q, v and z above.

   bb. QU promised that an accused student had “the right to identify witnesses and other
parties, and to request the deputy coordinator contact those individuals as part of the
investigation.” Ex. 14, p. 14. See also, Ex. 65, pp. 6, 8-12; SOF ¶232.

       Although the investigators interviewed all of the witnesses identified by Roe and Roe2,

they failed to interview witnesses identified by Doe or to include information obtained from them

                                                 45
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 46 of 64



in their report. SOF ¶¶20, 21, 194. Doe’s parents, who were not interviewed, had relevant

information. Id. QU breached its contract with Doe by failing to obtain and consider this

information and to include it in the investigators’ report.

    cc. QU failed to treat the Doe in the same manner and provide the same benefits as it did
the female complainants because he was male. See also, Ex. 65, pp. 6-12; SOF ¶232.

See, Sections 1 and 2, supra.

       These are some, but by no means all of the ways in which QU breached its contract with

Doe. The taint of bias infected the entire investigation in terms of the witnesses interviewed, the

weight given to their statements, and the conclusions drawn. That same taint permeated the

hearing, which relied in large measure on the information produced by the investigation. There is

sufficient evidence of definite promises that the defendants breached and which present questions

of material fact that should be decided by a jury. Under Connecticut law, in cases involving

contract claims under Gupta, “[i]nterpretation of the written terms of a contract and the degree of

compliance by the parties are questions of fact to be determined by the trier of fact.” Burns v.

Quinnipiac University, 120 Conn. App. 311, 320 (2010); see Craine v. Trinity College, 259 Conn.

625, 655–56 (2002). Summary judgment, therefore, should be denied on Count Four.

       2.      Count Five – Breach of the Covenant of Good Faith and Fair Dealing

       The legal principles for a claim for breach of the covenant of good faith and fair dealing

are well established:

       [I]t is axiomatic that the ... duty of good faith and fair dealing is a covenant implied
       into a contract or a contractual relationship.... In other words, every contract carries
       an implied duty requiring that neither party do anything that will injure the right of
       the other to receive the benefits of the agreement.... The covenant of good faith and
       fair dealing presupposes that the terms and purpose of the contract are agreed upon
       by the parties and that what is in dispute is a party’s discretionary application or

                                                 46
           Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 47 of 64



          interpretation of a contract term.... To constitute a breach of [the implied covenant
          of good faith and fair dealing], the acts by which a defendant allegedly impedes the
          plaintiff’s right to receive benefits that he or she reasonably expected to receive
          under the contract must have been taken in bad faith.

Renaissance Management Co. v. Connecticut Housing Finance Authority, 281 Conn. 227,

240 (2007).

          Good faith means honesty in fact and behaving in such a way as to allow both parties to

obtain the benefits for which they contracted. The covenant of good faith and fair dealing thus

requires faithfulness to an agreed common purpose and consistency with the justified expectation

of the parties in the performance of their agreement. Citibank v. Twerdahl, 1996 WL 157336, at

*2 (Conn. Super. Mar. 18, 1986); see also Magnan v. Anaconda Indus. Inc., 193 Conn. 558, 566

(1984).

          An action for breach of the covenant of good faith and fair dealing requires proof of three

essential elements: (1) that the plaintiff and the defendants were parties to a contract under which

the plaintiff reasonably expected to receive certain benefits; (2) that the defendants engaged in

conduct that injured the plaintiff’s right to receive some or all of those benefits; and (3) that when

committing the acts by which it injured the plaintiff’s right to receive benefits he reasonably

expected to receive under the contract, the defendants were acting in bad faith. Fairfield Fin. Mort.

Group. Inc. v. Salazar, 2002 WL 1009809, at *3 (Conn. Super. Apr. 23, 2002). A party’s neglect

or refusal to fulfill a contractual obligation constitutes bad faith if prompted by some interested

motive. Feinberg v. Berglewicz, 32 Conn. App. 857, 862 (1993). “Bad faith,” for purposes of the

implied covenant of good faith and fair dealing, may be overt or may consist of inaction, and may

include evasion of the spirit of the bargain.” Landry v. Spitz, 102 Conn. App. 34, 42 (2007).


                                                   47
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 48 of 64



       Defendants argue that Doe cannot prove that they were acting in bad faith. Def. Brief at

37. To the contrary, it is abundantly clear that the actions taken by the defendants were motivated

by animus directed against Doe and that they acted in bad faith. Among the examples of this, are

the following:

 • MB expressly stated that the penalty imposed on Doe was punitive as opposed to educational,
   which is not a purpose of QU’s sanctions. SOF ¶189.

 • TJ expressly acknowledged that Doe’s internship was part of his educational experience, yet
   deprived him of the opportunity to complete that internship by limiting him to two weeks’
   presence on campus. SOF ¶115.

 • The complaint against Doe was investigated in a manner entirely different from how the
   complaint he brought against Roe was investigated. See pages 9-11, supra.

 • When VC spoke at the hearing on April 2, 2017 he read from and provided an 11-page narrative
   that Doe had never seen before, notwithstanding the fact that he was entitled to view it 24 hours
   in advance of the hearing in violation of QU’s policies and defended himself rather than simply
   summarize the RR. SOF ¶¶63, 195.

 • The unequal weight afforded to Doe’s defense in the document compared with the information
   provided by Roe and Roe2. SOF ¶¶ 25, 38, 59, 187.

 • The repeated allusions to Doe’s lack of veracity during the hearing itself, including when VC
   stated that he never provided him with the cease and desist letter. SOF ¶63.

 • Letters from Doe’s therapist that reflected the dangers to his mental health in proceeding with
   a hearing that was skewed against him were not considered by the Board. SOF ¶221.

 • No accommodations were offered to temper the ill effects of the hearing on his psychological
   state when the Board was fully aware of the toll it was taking on him. SOF ¶¶47, 55, 57, 180.

 • INV2 was nothing more than a token, cursory investigation into the allegations brought by Doe
   against Roe and Roe2 notwithstanding the fact that he reported his level of fear and stress
   related to Roe’s conduct, which was completely ignored. SOF ¶¶207, 210-13.

 • The “investigation” of Doe’s complaint relied on canned information from VC which already
   reflected his biases and impressions, and the Board’s unsupported finding of responsibility to
   discredit Doe, and deprived Doe of a full and fair investigation into his allegations directed to
   Roe and Roe2. SOF ¶208.


                                                48
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 49 of 64



 • The complete disregard of the fact that the claims against Doe were brought in response to his
   break up with Roe and no evaluation of her credibility was undertaken. SOF ¶¶ 155, 160, 170.

 • The fact that the hearing date was deliberately set for the one date identified by Cooper as
   problematic for Doe because it was the first day of class. SOF ¶¶36.

 • Even after Doe alerted the investigators, TJ, SK and MD numerous times in interviews, in his
   Response and in letters regarding the errors in the process, to his concerns as a victim of sexual
   misconduct and the discrimination against him by the investigators because he was male and
   they did nothing. SOF ¶25, 37, 38, 44, 47.

 • Even after TJ, VC, SK and MD were made directly aware that he was experiencing severe
   emotional distress due to the unfairness of the entire process, and that the hearing could cause
   irreparable psychological harm based on his disabilities, they did nothing. SOF ¶¶103, 180,
   219, 221, 222.

   These facts alone raise questions of material fact relative to the issue of whether the defendants’

conduct was in bad faith. See Papelino v. Albany College of Pharmacy of Union University, 633

F.3d 81, 93-94 (2d Cir. 2011) (genuine issues exist for trial relative to whether school breached

implied duty of good faith by failing to investigate complaint of sexual harassment, mishandling

of Honor Code proceedings and denying students a diploma); Demoulas v. Quinnipiac University,

2015 WL 1427951 at *7 (Conn. Super. Mar. 5, 2015); Jacobs v. Ethel Walker School, Inc., 2003

WL 22390051 at *6 (Conn. Super. Sept. 30, 2003).

       3.    Counts Six, Seven and Eight – Tortious Interference with Contractual Relations

       To prevail on his claim for tortious interference with contract, Doe must satisfy the

following elements:

              (1) the existence of a contractual or beneficial relationship,
              (2) the defendants’ knowledge of that relationship,
              (3) the defendants’ intent to interfere with the relationship,
              (4) the interference was tortious, and
              (5) a loss suffered by the plaintiff that was caused by the defendants’
              tortious conduct.


                                                 49
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 50 of 64



Landmark Investment Group, LLC v. CALCO Construction & Development Co., 318 Conn. 847,

864 (2015).

       Doe had a contract with QU for the opportunity to graduate from QU with a degree and to

participate in an educational internship. SOF ¶¶1, 115. His contract with QU provided that if he

were charged with misconduct he would receive a fair and impartial investigation and hearing, and

if found not culpable, his record would remain clean. SOF ¶¶229, 246. He also had a contract for

and the right to equal treatment and fair handling of any claims he made. SOF ¶¶229, 236, 248.

       The individual defendants interfered with Doe’s contract by conducting a biased and

cursory investigation of Roe and Roe2’s allegations; by not taking his statements seriously; by

deciding responsibility up front; and by placing the burden of disproving it on him. The individual

defendants knew their actions were causing Doe emotional distress, but continued their actions.

Their actions thus were reckless. See Section 7, infra.

       QU again makes the argument that these claims are foreclosed under Gupta. For the

reasons set forth above, this does not apply. See Section 1, supra.

       The defendants also challenge these claims on the ground that there is no evidence that the

actions of TJ, SK and VC in interfering with Doe’s contract were tortious.         The Connecticut

Supreme Court explained this element in detail:

       This element may be satisfied by proof that the defendant was guilty of fraud,
       misrepresentation, intimidation or molestation … or that the defendant acted maliciously.
       … [the interference must be] wrongful by some measure beyond the fact of the interference
       itself …. The plaintiff … must demonstrate malice on the part of the defendant, not in the
       sense of ill will, but intentional interference without justification. … whether a defendant’s
       interference is tortious is a question of fact for the jury.”

Landmark Investment Group, 318 Conn. at 868-69.


                                                50
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 51 of 64



        A motion for summary judgment is not the appropriate mechanism for determining whether

the defendants’ interference was tortious because it rests on intent. That being said, the proof of

tortious interference is plentiful. The defendants did not follow QU’s rules, were biased against

Doe, and wrongfully found Doe responsible for IPV. There was no justification for their actions.

        The defendants also argue that because they were employees of QU, they are agents of the

school and therefore in some sense immune from personal liability for their intentional

misconduct. The cases cited in support of this claim have no applicability to the facts of this case.

Both Longley v. Suffield Academy, 2004 WL 728554 (Conn. Super. Mar. 27, 2004), and Murray

v. Bridgeport Hospital, 40 Conn. Supp. 56 (1984), involve claims made by employees against each

other. The courts in both cases followed the “general rule barring tortious interference claims

between two employees of the same corporation.” See Longley, at 3. Nothing in either case

suggests an immunity such that the individual defendants in this case cannot be held liable for their

tortious actions in interfering with the contractual relationship between QU and Doe. Selby does

not address this issue at all.

        4.    Count Nine – Negligent Infliction of Emotional Distress

        To establish a claim for negligent infliction of emotional distress, a plaintiff must show

that (1) the defendant’s conduct created an unreasonable risk of causing the plaintiff emotional

distress; (2) the plaintiff’s distress was foreseeable; (3) the emotional distress was severe enough

that it might result in illness or bodily harm; and (4) the defendant’s conduct was the cause of the

plaintiffs distress. Carrol v. Allstate Ins. Co., 262 Conn. 433, 444 (2003).

        The defendants argue that Gupta bars Doe’s claim for negligent infliction of emotional

distress. They assert that this claim is part and parcel of the tort of educational malpractice, which

                                                 51
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 52 of 64



Gupta rejected. Gupta did not involve a claim for personal injury arising out of the

hospital/educator’s actions and is completely distinguishable from this case.

       QU owed Doe an independent duty of care. McClure v. Fairfield University, 2003 WL

21524786 at *7-8 (Conn. Super. June 19, 2003) (Gallagher, J.). It is well established under

Connecticut law that once a school has undertaken to supervise its students, it has a duty to protect

them. Id. In McClure, the court held that a university’s adoption of policies for violations of

certain behaviors as set forth in its handbook “constituted an assumed duty which became an

indispensable part of the bundle of services which colleges afford . . . their students." Id. at *6

(internal quotations and citations omitted). Schools are subject to liability for harm "resulting

from [their] failure to exercise reasonable care to perform [their] undertaking, if (a) [their]

failure to exercise such care increases the risk of such harm, or (b) the harm is suffered because

of the other's reliance upon the undertaking.' Id. (internal quotations and citations omitted).

       QU adopted policies and procedures to prevent sexual harassment and gender

discrimination, as well as discrimination based on disabilities, and to provide fair and unbiased

proceedings for complaints based on those policies and procedures. Due to QU’s negligent

performance of its duties under the T9 Policy and Code, Doe was subjected to additional sexual

harassment and gender discrimination and suffered greatly because he relied on QU’s promises.

It was foreseeable that the continued harassment and discrimination, as well as the unfair and

biased manner in which QU handled the proceedings, would take an extreme emotional toll on

Doe, particularly in light of his known disabilities.      See, e.g., Wager v. Moore, 2015 WL

7421582, *4-5 (Conn. Super. 2017) (defendant's motion for summary judgment denied on the

grounds that the college assumed direct responsibility for safety of students and therefore, had a

                                                 52
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 53 of 64



duty to protect); Leary v. Wesleyan University, 2009 WL 865679, *10 (Conn. Super. 2009)

(reasoning where a duty is imposed upon a college or university stemming from the gratuitous

undertaking of services, foreseeability is often found where the college or university has either

adopted policies or protocols addressing the specific harm that has occurred or has undertaken in

some way to prevent the specific harm from occurring); Vega v. Sacred Heart University, Inc.,

836 F.Supp.2d 58, 62 (D. Conn. 2011) (in upholding claim for negligent infliction of emotional

distress, citing cases that hold that a "university may assume a duty to protect its students by way

of its affirmative conduct.")

       In Doe v. Yale University, 252 Conn. 641 (2000), the Connecticut Supreme Court

distinguished the plaintiff’s claim from an educational malpractice claim as rejected

in Gupta, and recognized a negligence claim arising in the educational context:

       We conclude … that the distinction lies in the duty that is alleged to have been breached.
       If the duty alleged to have been breached is the duty to educate effectively, the claim is
       not cognizable. … If the duty alleged to have been breached is the common-law duty not
       to cause physical injury by negligent conduct, such a claim is, of course cognizable. That
       common-law duty does not disappear when the negligent conduct occurs in an educational
       setting.

Id., at 659; see also Riley v. The Travelers Home and Marine Insurance Co., 173 Conn. App. 422,

439 (2017) (finding insurance company could be held liable for negligent infliction of emotional

distress based on the investigation that it conducted). Questions of material fact remain as to

defendants’ liability on Count Nine which should be resolved by the trier of fact.

       5.    Count Ten – Intentional Infliction of Emotional Distress

       To establish a claim for intentional infliction of emotional distress, a plaintiff must

establish that (1) that the actor intended to inflict emotional distress or that he knew or should have


                                                  53
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 54 of 64



known that emotional distress was the likely result of his conduct; (2) that the conduct was extreme

and outrageous; (3) that the defendant’s conduct was the cause of the plaintiff’s distress; and (4)

that the emotional distress sustained by the plaintiff was severe. Carrol v. Allstate Ins. Co., 262

Conn. 433, 442–43 (2003).

       Defendants claim that Doe cannot prove outrageous conduct or show they intended to

inflict emotional distress as a matter of law. However, …

       “[t]he cases analyzing claims of intentional infliction of emotional distress make clear that,
       there are few, if any, bright lines to assist a trial court in carrying out its gatekeeping
       function. On the contrary, the analysis of such claims is always highly fact-specific.”
       Thibault v. Barkhamsted Fire Dist., 2013 WL 6038259 at *8 (Conn. Super. 2013).

       T9 discrimination claims are analogous to employment discrimination claims. See Doe v.

Columbia, 831 F.3d 46, 55 (2d Cir. 2016). In Pottie v. Atlantic Packaging Group, LLC, 2012 WL

6087282 at *8 (D. Conn. 2012), Judge Garfinkel recognized “the strong public policy prohibiting

employment discrimination on the basis of race, sex and national origin” and found the plaintiff

had alleged adequate facts to support her claim for intentional infliction of emotional distress. Id.,

at *3; see also Satterwhite v. Cleveland Metropolitan School District, 2017 WL 6326882, *5 (N.D.

Ohio 2017) (gender discrimination in the police department held adequate to support intentional

infliction of emotional distress claim because society “cannot yet be said to be so depraved as to

prevent a person of reasonable sensibilities from exclaiming ‘Outrageous!’ ” at plaintiff’s

description of defendant’s conduct); Kidd v. Itron, Inc., 2017 WL 4230513, *2 (E.D. Ky. 2017);

Faulkner v. Dillon, 92 F.Supp.3d 493, 502 (W.D. Va. 2015). Gender discrimination in and of itself

is so odious that it can be said to constitute irreparable harm. See Able v. United States, 847 F.

Supp. 1038 (E.D. N.Y. 1994), remanded, Able v. U.S., 44 F.3d 128 (2d. Cir. 1995); Mitchell v.


                                                 54
          Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 55 of 64



Cuomo, 748 F.2d 804 (2d Cir. 1984); Covino v. Patrissi, 967 F.2d 73 (2d Cir. 1992).

         Doe was falsely charged with intimate partner violence by his ex-girlfriend an hour after

he ended their relationship. SOF ¶13. She threatened, “I’ll make sure you can never go near me

again.” Ex. 86, Dviii. The investigation into her claims proceeded at length before he was even

notified it was pending, and his first notice that he had been charged came after he was summoned

for an interview and subjected to interrogation without knowing the purpose. SOF ¶¶19, 150; Ex.

130, ¶17. Blindsided by the false allegations, he set about the challenge of trying to defend against

them, but was placed at a severe and obvious disadvantage because the investigators refused to

give him the opportunity to defend himself or consider the defense he raised. SOF ¶¶25, 37, 38.

In the course of the investigation, Doe identified Roe’s conduct and a conspiracy with another ex-

girlfriend (Roe’s sorority sister) to obtain revenge against him, but the investigators completely

ignored this information. SOF ¶¶155, 157, 160; Ex. 130, ¶¶ 13-15; 19; 21-23. Doe also claimed

Roe and Roe2 had harassed and stalked him (showing they were not afraid, intimidated or

controlled by him) to rebut the charges of IPV. Ex. 130, ¶ 19, 35. Again, the investigators

completely ignored this information, did not ask questions and did not investigate these statements.

SOF ¶¶25, 37, 38, 153. Even when TJ was given a detailed account of the problems and Doe asked

her to review it, aware of the extreme anxiety this was causing Doe, she did nothing in response.

SOF ¶¶40, 44, 47, 222; Ex. 130, ¶36.

         Doe was deprived of the meaningful opportunity to be heard by someone in a position to

evaluate his information with an open mind. The investigation amounted to nothing but a sham, 17



17
     INV2 was also a sham. SOF ¶¶ 200-215, see pages 21-23 supra.

                                                 55
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 56 of 64



and the matter proceeded to a hearing in which Doe’s ability to present a defense was severely

limited. See pages 21-23 supra. No real accommodations were made for him in terms of his

disability or his anxiety. SOF ¶223, see also section t supra.

       To the contrary, VC exploited his learning differences by withholding material from him

in violation of the university’s procedures. See section t supra. The Hearing was scheduled for

a date that was maximally disruptive to his emotional state on the one day specifically identified

as the most problematic for him. Id. The Board did not call any witnesses, Roe2 did not attend

the hearing and the committee relied almost exclusively on the biased RR. SOF ¶¶65, 66, 182,

183, 187. Doe could not respond to anything, question Roe, VC or anyone else. SOF ¶¶63, 187,

Ex. 130, ¶¶56, 61.

       Doe was found responsible for the charges that were made against him despite the absence

of any meaningful investigation of the charges he brought against the complainants which served

as his core defense, and with the use of the wrong definition of IPV, which lowered the threshold

for finding Doe responsible. SOF ¶¶66, 174.

       The penalty was calculated to cause unnecessary anxiety as well. Doe was prohibited from

attending graduation with his friends in the school of business and was forced to attend the

ceremony with a different group with whom he had no connection. SOF ¶109; Ex. 130, ¶68. His

parents could not attend any of the graduation events. SOF ¶¶110, 190. Doe’s ability to participate

in an internship that would have provided him with career opportunities was severely limited in an

effort to “punish” him for an offense he did not commit. SOF ¶¶113-115, 189; Ex. 130, ¶70. All

of this was driven by gender bias on the part of the investigators, the hearing board and the school.

       The evidence shows that defendants knew or had reason to know emotional distress was

                                                 56
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 57 of 64



likely. Murray v. Bridgeport Hospital, 40 Conn. Supp. 56, 62 (1984) (intentional infliction of

emotional distress requires that the actor either intended to inflict emotional distress or that he

knew or should have known that emotional distress was the likely result of his conduct.). TJ, VC

and SK knew Doe was experiencing extreme emotional distress from the report of his treating

psychiatrist which stated that the events could lead to a spiral he had never before experienced.

SOF ¶¶219, 221, 222. Despite this, QU refused to speak with Doe about these concerns or his

claims of harassment and discrimination, address his concerns of sexual harassment and

discrimination or consider any other options even though he repeatedly brought these to their

attention. SOF ¶222. They forced him to attend a one-sided hearing and unreasonably delayed

INV2 to ensure it occurred after the hearing regarding INV1 had been concluded. SOF ¶¶ 201,

202; Ex. 130, ¶¶49-52; 65. VC abused his authority and abdicated his responsibility to ensure a

fair process by defending his actions before the Board without advance notice to Doe as required

by QU’s policies and procedures, and falsely accused Doe of lying. SOF ¶¶63, 195. VC then failed

to permit Doe to defend himself against this accusation, with SK and the Board looking on. Id.

TJ, VC, SK, the Board and MD, who later refused to grant an appeal on these very same issues,

all abused their positions of authority as administrators with the power to conduct fair disciplinary

proceedings in compliance with QU’s procedures. SOF ¶¶196, 197. See Longo v. Waterbury

Hospital Health Center, 2005 WL 407785 at * 3 (Conn. Super. Jan. 14, 2005) (“[T]he extreme and

outrageous character of the conduct may arise from an abuse by the actor of a position, or a relation

with the other which gives him actual or apparent authority over the other, or power to affect his

interests … in particular police officers, school authorities, landlords and collecting creditors have

been held liable for extreme abuse of their position”).

                                                 57
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 58 of 64



        Addressing defendants’ third argument that there is no evidence that Doe suffered serious

mental distress, the record shows that Doe received treatment to address the effects of the biased

handling of the proceedings. SOF ¶¶124, 221. He was forced to take prescription anxiety

medication to cope and experienced anxiety and depression so significant that not only affected

his ability to participate in the subject proceedings, it also impacted his grades. SOF ¶¶221, 272;

Ex. 130, ¶¶29, 30. In fact, the way QU treated him has greatly exacerbated Doe’s emotional trauma

and distress, anxiety, and depressive mood. Dr. Liebowitz testified that Doe will continue to

experience the negative effects of the investigations, hearing, appeal and the imposition of the

sanctions conducted by QU and its agents. SOF ¶276. Questions of material fact exist relative to

this claim that are sufficient to defeat summary judgment.

        6.    Count Eleven – Negligence

        Count Eleven of the Doe’s complaint asserts a claim for negligence against the defendants

arising out of the manner in which they conducted investigations and proceedings involving Doe.

For the reasons fully articulated above, Gupta is inapplicable to this claim for negligent

investigation. McClure v. Fairfield University and Doe v. Yale University both hold that schools

can be liable to their students for negligent conduct. 18


18
  Courts have acknowledged the viability of negligence claims against schools in numerous contexts. See,
e.g., Hernandez v. Baylor Univ., 274 F. Supp. 3d 602, 621 (W.D. Tex. 2017) (finding plaintiff alleging
sexual assault by Baylor football players plausibly alleged a claim for negligence in addition to Title IX
violation under theory of deliberate indifference); Doe v. Univ. of St. Thomas, 240 F. Supp. 3d 984, 995
(D. Minn. 2017) (holding male student who was suspended did not state plausible claim of gender bias
against university to support Title IX claims but did state plausible negligence claim); Doe v. Salisbury
Univ., 123 F. Supp. 3d 748, 763 (D. Md. 2015) (male student plaintiffs disciplined for sexual misconduct
stated plausible claims of negligence against university and its officials in their professional capacities and
erroneous outcome discrimination in violation of Title IX); Doe v. Case W. Reserve Univ., 2017 WL
3840418 *12(N.D. Ohio 2017) (in sexual misconduct case, male students’ Title IX erroneous outcome
claim and negligence claims against some defendants survived dismissal).

                                                     58
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 59 of 64



        Defendants further argue that they owed Doe no duty of care, and that negligence claims

thus do not apply in cases involving student discipline, citing cases from other jurisdictions that

are inapposite. In Xiaolu v. Vassar College, 97 F. Supp.3d 448 (S.D.N.Y. 2015) and Weitz v. State

of New York, 182 Misc.2d 320 (N.Y. 1999), the courts found that the State of New York did not

recognize causes of action for negligent prosecution or investigation and applied that concept to

schools. Although a review of Connecticut law does not yield authority specific to a claim for

negligent investigation in a school disciplinary proceeding, Connecticut has recognized a cause of

action for negligent investigation arising in certain employment settings. See, e.g., Crosby v.

HSBC North American Holdings, Inc.,              2008 WL 2930188 (Conn. Super. June 30, 2008)

(allegation of negligent investigation of termination was legally sound); Rood v. Canteen Corp.,

1996 WL 548174 (Conn. Super. Sept. 19, 1996) (failure to follow procedures in employee

handbook may give rise to a claim for negligent investigation in connection with an employee’s

termination). 19

        Bass v. Miss Porter’s School, 738 F. Supp.2d 307 (D. Conn. 2010), also is distinguishable.

In Bass, the minor plaintiff was expelled from her private high school for violating the no alcohol

policy after school administrators were informed that she had done so. This information came to



18
  The other cases cited by the Defendants are also distinguishable. Okafor v. Yale University, 2004 WL
1615941 (Conn. Super. June 25, 2004), did not involve a claim for negligent investigation, although the
court dismissed a claim for negligent misrepresentation. In Craine v. Trinity College, 259 Conn. 625, 661-
664 (2002), the court distinguished Gupta, indicating that it involved a dismissal for poor performance, and
held there was adequate support for jury’s finding in favor of the plaintiff on a negligent misrepresentation
claim against the university. Salus v. State of Nevada, 2011 WL 4828821 (D. Nev. 2011) and Doe v.
Emerson College, 153 F. Supp.3d 506, 514 (D. Mass. 2015) arose in jurisdictions in which, unlike
Connecticut, schools do not have a legal duty of care to their students. The bottom line is that negligence
claims routinely are recognized in this context.


                                                    59
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 60 of 64



the administrators after the student was already removed from campus for cheating on a test. This

Court found there was no cause of action for negligent infliction of emotional distress under Gupta

based on the academic decision that had been made, since negligence was inconsistent with the

language of Gupta that limited claims for the improper exercise of educational judgment to

instances involving arbitrary and capricious decisions.

        A recent line of authority involving Title VII claims is relevant to the fact pattern now

before the court. 20 In Vasquez v. Empress Ambulance Service, Inc., 835 F.3d 267 (2d. Cir. 2016),

the Court of Appeals vacated and remanded a District Court decision granting a motion to dismiss

a claim against an employer for conducting a negligent investigation. In Vasquez, the plaintiff

was sent a text containing a sexually graphic photograph by a coworker who had repeatedly made

romantic overtures towards her which she had rebuffed.                    She immediately reported the

inappropriate text to her employer. The coworker, who was present at the time she made the report

and knew his job was in jeopardy, fabricated a series of texts on his phone to make it appear that

the plaintiff had engaged in sexually inappropriate behavior towards him. The coworker then

reported her and showed the investigators the fabricated evidence, which they credited and used

as justification to immediately discharge the plaintiff from her job. Id. at 269.

        The plaintiff brought suit alleging that the false report was motivated by revenge and that


19
  QU argues that even if a duty exists, “an officer of a corporation does not incur personal liability for its
torts merely because of his official position. Where, however, an agent or officer commits or participates
in the commission of a tort, whether or not he acts on behalf of his principal or corporation, he is liable to
third persons injured thereby.” Def. Brief at 47, quoting, Joseph General Contracting, Inc. v. Couto, 317
Conn. 565 (2015). This language supports the plaintiff’s position, since it is alleged and will be proven
that the individual defendants did in fact participate in the commission of torts. The plaintiff is not
arguing that the individual defendants are liable for acts of QU; the plaintiff is arguing that they are liable
for their own negligent actions in this count.


                                                      60
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 61 of 64



the investigation, by failing to take into account all of the evidence, including evidence in support

of her claims, and in finding that her coworker’s complaint was credible with inadequate bases,

was negligent. The Vasquez court found:

       [W]hen an employer in effect adopts an employee’s unlawful animus by acting negligently
       with respect to the information provided by the employee, and thereby affords that biased
       employee an outsize role in its own employment decision, … the employee’s motivation
       [can] be imputed to the employer and used to support a claim under Title VII. Id. at 275.

       The investigators negligently embraced Roe’s allegations and interviewed 13 witnesses

before they even met with Doe. SOF ¶19. The Roe complaint was motivated by revenge since

Doe had just ended their relationship, yet the investigators paid no credence to this motive in

wholeheartedly crediting her story and failing to question her about it. SOF ¶¶25, 37, 38, 153,

157, 160; Ex. 130, ¶¶13-15; 19; 21-23. To the extent Roe sought to bolster her story by persuading

Roe2 to support her, as they were sorority sisters, Roe 2 also had motives not only to help Roe,

but also to exact revenge on Doe since she too had dated him, and he had ended their relationship.

SOF ¶¶13, 160; Ex. 130, ¶¶13, 15. When Doe attempted to bring his claims against Roe and Roe2

for stalking and harassment, the investigators ignored those claims and did nothing to examine any

evidence to determine their validity. SOF ¶¶25, 38. When Doe brought a formal complaint, a sham

investigation was conducted based on the report from the INV1 which failed to address his

allegations in any substantive way. SOF ¶¶ 200-215, see pages 21-23 supra. The investigators of

Doe’s complaint reached a conclusion which they supported with inaccurate facts,

mischaracterizations of the evidence and gender-biased presumptions favoring Roe, including

believing Roe’s expression of fear, but not Doe’s, based on the same conduct by each. SOF ¶¶

200-215, see pages 21-23 supra. Like the Vasquez investigation, QU simply credited one side’s


                                                 61
        Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 62 of 64



claims from the inception, and the only evidence-gathering that occurred was simply to justify that

conclusion as opposed to seeking the actual truth.

       Also instructive is Crenshaw v. Bozeman Deaconess Hospital, 213 Mont. 488, 693 P.2d

487 (1984).    In Crenshaw, a respiratory therapist was terminated allegedly for inadequate

performance.    She complained to the hospital administrator, who indicated that he would

investigate the matter, but that investigation culminated in a finding that she was properly fired.

She brought suit alleging that the investigation conducted by the hospital was negligent and

inadequate and the court allowed the claim. In Crenshaw, as in our case, the hospital failed to

interview all of the appropriate witnesses, including witnesses who would have supported the

plaintiff’s contentions. Id., 693 P.2d at 500.

       The cases cited by the individual defendants also do not support the proposition that they

cannot be found responsible for their own negligence. Joseph General Contracting, Inc. v. Couto,

317 Conn. 565 (2015) was a CUTPA case and is completely inapposite. Scribner v. Obrien, Inc.,

169 Conn. 389 (1975), involved a claim for vicarious liability of officers and agents for corporate

torts, which Ventres v. Goodspeed Airport, LLC, 275 Conn. 105 (2005), contradicts.

       Material questions of fact regarding the negligence of QU, TJ, SK and VC exist and

summary judgment as to Count Eleven should be denied.

       7. Count Twelve – Reckless and Wanton Misconduct

       For the reasons previously stated, it is clear that QU owed Doe a duty of care

notwithstanding Defendants’ argument to the contrary. Additionally, there is no language in

Gupta that prohibits a claim for reckless and wanton conduct arising out of a school’s biased

investigation of a disciplinary allegation.      Contrary to Defendants’ third argument, there is

                                                  62
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 63 of 64



sufficient evidence that Defendants’ conduct was deliberate, reckless or wanton.

       A count based on reckless and wanton misconduct must, like an action in negligence, allege
       some duty running from the defendant to the plaintiff. In order to establish that the conduct
       of a defendant, who was under such a duty, was deliberate, wanton and reckless, the
       plaintiff must prove … the existence of a state of consciousness with reference to the
       consequences of one’s acts … such conduct is more than negligence, more than gross
       negligence … In order to infer it, there must be something more than a failure to exercise
       a reasonable degree of watchfulness to avoid danger to others or to take reasonable
       precautions to avoid injury to them. … it is such conduct as indicates a reckless disregard
       of the just rights or safety of others or of the consequences of the action. … In sum, such
       conduct tends to take on the aspect of highly unreasonable conduct, involving an extreme
       departure from ordinary care, in a situation where a high degree of danger is apparent.
       Vitale v. Kowal, 101 Conn. App. 691, 698-99 (2007) citing, Elliott v. Waterbury, 245
       Conn. 385 (1998).

       As discussed in detail above, the Defendants’ treatment of Doe demonstrates “highly

unreasonable conduct, involving an extreme departure from ordinary care, in a situation where a

high degree of danger is apparent.” Indeed, in Harris v. Bradley Memorial Hospital and Health

Center, Inc., 296 Conn. 315 (2010), the Connecticut Supreme Court affirmed a jury verdict

awarding punitive damages based on reckless and wanton conduct exhibited in the course of a

biased investigation. Id. at 348. The record in this case fully supports a similar result. At the

very least, the determination of whether Defendants’ actions amounted to reckless and wanton

misconduct should be left to the jury. See Williams v. Housing Authority, 327 Conn. 338, 360–

61 (2017) (“[R]ecklessness ordinarily presents a question of fact for the jury . . . [T]he general

rule [is] that when a defendant’s conduct represents more than mere ‘momentary thoughtlessness

or inadvertence,’ whether it rises to the level of ‘reckless or wanton misconduct on any given

state of facts [ordinarily] is a question of fact for the jury’”); Craig v. Driscoll, 64 Conn. App.

699, 721 (2001), aff’d, 262 Conn. 312 (2003) (claim of reckless disregard of another person’s

rights is usually question of fact unless no reasonable person can differ as to conclusion);

                                                  63
         Case 3:17-cv-00364-JBA Document 95 Filed 01/22/19 Page 64 of 64



Stolnick v. Lech, 2018 WL 1785685 at *3 (Conn. Super. Feb. 22, 2018) (“A claim of

recklessness usually presents a question of fact, unsuitable for summary judgment, unless no

reasonable mind can differ as to the conclusion.”).

       For the foregoing reasons, Defendants’ motion for summary judgment should be denied.


                                               PLAINTIFF
                                               JOHN DOE

                                               By:     /s/ Felice M. Duffy
                                                       Felice M. Duffy (ct21379)
                                                       Duffy Law, LLC
                                                       129 Church Street, Suite 310
                                                       New Haven, CT 06510
                                                       Phone: (203) 946-2000
                                                       Fax: (203) 907-1383
                                                       felice@duffylawct.com

                                                       Douglas J. Varga (ct18885)
                                                       Lucas & Varga LLC
                                                       2425 Post Road, Suite 200
                                                       Southport, CT 06890
                                                       Phone: (203) 227-8400
                                                       Fax: (203) 227-8402
                                                       dvarga@lucasvargalaw.com
                                                       His Attorneys

                                        CERTIFICATION

        I hereby certify that on January 22, 2019 a copy of the foregoing motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.




                                                       By:     /s/ Felice M. Duffy
                                                               Felice M. Duffy

                                                  64
